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Attorneys for Plaintiff, Days Inns Worldwide, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

DAYS INNS WORLDWIDE, INC., a Delaware

Corporation,
. Civil Action No. 18-
Plaintiff,
v.
VERIFIED
COMPLAINT

KINGSTON PA LLC, a Pennsylvania Limited
Liability Company; KARMA HOLDINGS, LLC, a
Pennsylvania Limited Liability Company; BHARTI
PATEL, an individual; and JAGDISHKUMAR
PATEL, also known as JAGDISH A. PATEL OR
AJAY PATEL, an individual,

Defendants.

 

Plaintiff Days Inns Worldwide, Inc., by its attorneys, Connell Foley LLP, complaining of
defendants Kingston PA LLC, Karma Holdings, LLC, Bharti Patel, and Jagdishkumar Patel, also
known as Jagdish A. Patel or Ajay Patel, says:

PARTIES, JURISDICTION AND VENUE

1. Plaintiff Days Inns Worldwide, Inc. (“DIW”) is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business in

Parsippany, New Jersey.

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2. Defendant Kingston PA LLC (“Kingston PA”), on information and belief, is a
limited liability company organized and existing under the laws of the State of Pennsylvania,
with its principal place of business at 150 Hotel Heights, Clearfield, Pennsylvania 16830.

3. Defendant Bharti Patel (“B. Patel”), on information and belief, is a member of
Kingston PA and Karma Holdings, LLC (“Karma Holdings”) and a citizen of the State of New
Jersey, having an address at 1 Alexander Drive, Monroe, New Jersey 08831.

4, Defendant Jagdishkumar Patel, also known as Jagdish A. Patel or Ajay Patel (“J.
Patel”), on information and belief, is a member of Kingston PA and Karma Holdings and a
citizen of the State of New Jersey, having an address at 150 Hotel Heights, Clearfield,

Pennsylvania 16830.

5. Upon information and belief, B. Patel and J. Patel are the only constituent
members of Kingston PA.
6. Defendant Karma Holdings, on information and belief, is a limited liability

company organized and existing under the laws of the State of Pennsylvania, with its principal
place of business at 150 Hotel Heights, Clearfield, Pennsylvania 16830.

7. Upon information and belief, B. Patel and J. Patel EW the only constituent
members of Karma Holdings.

8. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331 & 1338, 15 U.S.C. § 1121 and, with respect to certain claims, 28 U.S.C. § 1367.

9. This Court has personal jurisdiction over Kingston PA and Karma Holdings by
virtue of, among other things, section 17.6.3 of the March 8, 2016 franchise agreement by and
between Kingston PA and DIW (the “Franchise Agreement”), described in more detail below,

pursuant to which Kingston PA has consented “to the non-exclusive personal jurisdiction of and

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venue in the New Jersey state courts situated in Morris County, New Jersey and the United
States District Court for the District of New Jersey.”

10. This Court has personal jurisdiction over B. Patel and J. Patel by virtue of, among
other things, the terms of a guaranty (the “Guaranty”), described in more detail below, pursuant
to which B. Patel and J. Patel acknowledged that they were personally bound by section 17 of the
Franchise Agreement.

11. Venue is proper in this District pursuant to section 17.6.3 of the Franchise
Agreement, inasmuch as that provision contains an express waiver by Kingston PA of any
objection to venue in this District.

ALLEGATIONS COMMON TO ALL COUNTS
The Days Inn® Marks

12. DIW is one of the largest guest lodging facility franchise systems in the United
States, and is widely known as a provider of guest lodging facility services.

13. | DIW owns and has the exclusive right to license the use of the service mark
DAYS INN and various related trade names, trademarks and service marks (certain of which are
on the principal register of the United States Patent and Trademark Office), logos, and
derivations thereof (the “Days Inn® Marks”), as well as the distinctive Days Inn® System, which
provides guest lodging services to the public under the Days Inn® name and certain services to its
licensees, including a centralized reservation system, advertising, publicity, and training services.

14. _ DIW or its predecessors first used the DAYS INN mark in 1970 and the Days
Inn® Marks are in full force and effect. The registered Days Inn® Marks are incontestable

pursuant to 15 U.S.C. § 1065.

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15. | DIW has given notice to the public of the registration of the Days Inn® Marks as
provided in 15 U.S.C. § 1111.

16, DIW uses or has used the words “Days Inn,” among others, as abbreviations of its
brand name.

17. DIW has registered the Days Inn® Marks as service marks with the US Patent and
Trademark Office (“USPTO”) and owns, among others, the following valid service mark

registrations for the Days Inn® Marks:

 

 

 

 

 

 

 

 

 

 

 

 

MARK DESIGN REGISTRATION NO | REGISTRATION DATE CLASS
1-800-DAYS-INN 2071394 jun-17-1997 42
DAYBREAK 1137073 Jun-17-1980 42
DAYS HOTEL 1518523 Dec-27-1988 42
DAYS HOTEL &
ey 3441523 Jun-3-2008 43
Design-Color eT
DAYS HOT :
S HOTEL & fy 1518524 Dec-27-1988 42
SUNBURST DESIGN Osa
DAYS INN 1160430 Jul-7-1981 42
3441519 jun-3-2008 35, 43
DAYS INN & Design
DAYS INN & SUITES ¢
; em 3441522 Jun-3-2008 43
& Design/Color Prd ia)
& Suites
DAYS INN &
1160431 jul-7-1981
SUNBURST DESIGN ofan " ae

 

 

 

 

 

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DAYS INN &

Sunburst 3441518 Jun-3-2008 35, 43
Design/Color Daysinn

 

DAYS INN BUSINESS

-12-
PLACE 2459053 Jun-12-2001 42

 

 

DAYS SUITES 1665307 Nov-19-1991 42

 

 

 

 

 

18. | The USPTO registrations for the Days Inn® Marks are valid, subsisting and in full
force and effect and appear on the Principal Trademark Register of the USPTO. All of the Days
Inn® Marks have achieved incontestable status pursuant to the Lanham Act, 15 U.S.C. § 1065.
Such incontestable federal registrations for the Days Inn” Marks constitute conclusive evidence
of the validity of the Days Inn® Marks and DIW’s ownership of the Days Inn® Marks and the
exclusive right to use the marks nationwide.

19. Through its franchise system, DIW markets, promotes, and provides services to
its guest lodging licensees throughout the United States. In order to identify the origin of their
guest lodging services, DIW allows its licensees to utilize the Days Inn® Marks and to promote
the Days Inn® brand name.

20. DIW has made, over the course of many years, and continues to make, extensive
use of the Days Inn® Marks. It has advertised, marketed and provided services in connection
with the Days Inn® Marks to such an extent that consumers know and recognize the Days Inn*®
Marks and associate them with DIW and the high-value lodging facilities and services it provides
to consumers.

21. DIW has invested substantial effort over a long period of time, including the

expenditure of millions of dollars, to develop goodwill in its trade names and service marks to

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cause consumers throughout the United States to recognize the Days Inn™ Marks as distinctly
designating DIW guest lodging services as originating with DIW.

22. The value of the goodwill developed in the Days Inn® Marks does not admit of
precise monetary calculation, but because DIW is one of the largest guest lodging facility
franchise systems in the United States and is widely known as a provider of guest lodging facility
services, the value of DIW’s goodwill exceeds hundreds of millions of dollars.

23. The Days Inn® Marks are indisputably among the most famous in the United
States.

The Relationship Between Kingston PA and Karma Holdings

24. Karma Holdings owns the guest lodging facility located at 150 Hotel Heights,
Clearfield, Pennsylvania 16830.

25. On March 1, 2016, Karma Holdings, as landlord, entered into a lease agreement
for the Facility (the “Lease Agreement”) with Kingston PA, as tenant, for a fifteen-year term. A
true copy of the Lease Agreement is attached hereto as Exhibit A.

26. J. Patel, as a member of both Karma Holdings and Kingston PA, executed the
Lease Agreement on behalf of Karma Holdings.

27. _ B. Patel, as a member of Kingston PA, executed the Lease Agreement on behalf
of Kingston PA.

The Relationship Between DIW and Defendants

28, On or about March 8, 2016, DIW entered into the Franchise Agreement with
Kingston PA for the operation of a 125-room Days Inn® guest lodging facility located at 150
Hotel Heights, Clearfield, Pennsylvania 16830, designated as Site No. 14840-07330-04 (the

Facility”). A true copy of the Franchise Agreement is attached hereto as Exhibit B.

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29. ‘J. Patel, a member of both Kingston PA and Karma Holdings, executed the
Franchise Agreement on behalf of Kingston PA.

30. Pursuant to section 17.3 of the Franchise Agreement, J, Patel was Kingston PA’s
designated contact person.

31, Pursuant to section 5 of the Franchise Agreement, Kingston PA was obligated to
operate a Days Inn™ guest lodging facility for a fifteen-year term, during which time Kingston
PA was permitted to use the Days Inn® Marks in association with the operation and use of the
Facility as part of DIW’s franchise system.

32. Pursuant to section 7, section 18.1, and Schedule C of the Franchise Agreement,
Kingston PA was required to make certain periodic payments to DIW for royalties, system
assessments, taxes, interest, reservation system user fees, and other fees (collectively, “Recurring
Fees”).

33. Pursuant to section 7.3 of the Franchise Agreement, Kingston PA agreed that
interest is payable “on any past due amount payable to [DIW] under this [Franchise] Agreement
at the rate of 1.5% per month or the maximum rate permitted by applicable law, whichever is
less, accruing from the due date until the amount is paid.”

34. Pursuant to section 3.6 of the Franchise Agreement, Kingston PA was required to
prepare and submit monthly reports to DIW disclosing, among other things, the amount of gross
room revenue earned by Kingston PA at the Facility in the preceding month for purposes of
establishing the amount of royalties and other Recurring Fees due to DIW.

35. Pursuant to section 3.6 of the Franchise Agreement, Kingston PA agreed to
maintain at the Facility accurate financial information, including books, records, and accounts,

relating to the gross room revenue of the Facility and, pursuant to sections 3.6 and 4.8 of the

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Franchise Agreement, Kingston PA agreed to allow DIW to examine, audit, and make copies of
the entries in these books, records, and accounts.

36. Pursuant to section 11.2 of the Franchise Agreement, DIW could terminate the
Franchise Agreement, with notice to Kingston PA, if Kingston PA (a) discontinued operating the
Facility as a Days Inn® guest lodging establishment; and/or (b) lost possession or the right to
possession of the Facility.

37. Pursuant to section 12.1 of the Franchise Agreement, Kingston PA agreed that, in
the event of a termination of the Franchise Agreement pursuant to section 11.2, it would pay
liquidated damages to DIW in accordance with a formula specified in the Franchise Agreement.

38. Section 18.4 of the Franchise Agreement specifically set liquidated damages for
the Facility at $1,000.00 for each guest room of the Facility Kingston PA was authorized to
operate at the time of termination.

39. Section 13 of the Franchise Agreement specified Kingston PA’s obligations in the
event of a termination of the Franchise Agreement, including its obligation to immediately cease
using all of the Days Inn® Marks.

40. Pursuant to section 17.4 of the Franchise Agreement, Kingston PA agreed that the
non-prevailing party would “pay all costs and expenses, including reasonable attorneys’ fees,
incurred by the prevailing party to enforce this [Franchise] Agreement or collect amounts owed
under this [Franchise] Agreement.”

41. Effective as of the date of the Franchise Agreement, B. Patel and J. Patel provided
DIW with a Guaranty of Kingston PA’s obligations under the Franchise Agreement. A true copy

of the Guaranty is attached hereto as Exhibit C.

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42. Pursuant to the terms of the Guaranty, B. Patel and J. Patel agreed, among other
things, that upon a default under the Franchise Agreement, they would “immediately make each
payment and perform or cause [Kingston PA] to perform, each unpaid or unperformed obligation
of [Kingston PA] under the [Franchise] Agreement.”

43. Pursuant to the terms of the Guaranty, B. Patel and J. Patel agreed to pay the
costs, including reasonable attorneys’ fees, incurred by DIW in enforcing its rights or remedies
under the Guaranty or the Franchise Agreement.

The Defendants’ Termination of the Franchise Agreement

44. On or about November 28, 2017, Kingston PA unilaterally terminated the
Franchise Agreement when it ceased to operate the Facility as a Days Inn® guest lodging facility.

45. By letter dated December 28, 2017, a true copy of which is attached as Exhibit D,
DIW acknowledged Kingston PA’s unilateral termination of the Franchise Agreement and
advised Kingston PA that (a) it was to immediately discontinue the use of all trade names,
service marks, signs, and other forms of advertising, and other indicia of operation as a Days
Inn® Facility, and to discontinue the use of other materials on the premises effectively to
distinguish the same from its former appearance as a Days Inn™ System facility, (b) all items
bearing the Days Inn® Marks had to be removed, (c) all signs and any listings in directories and
similar guides in which the Facility was identified as a Days Inn® had to be changed, (d) it was
required to pay to DIW as liquidated damages for premature termination the sum of $125,000.00
as required under the Franchise Agreement, (e) it had to de-identify the Facility within 10 days
from the receipt of the notice, and (f) demand was made for all outstanding Recurring Fees

through the date of termination.

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46. By letter dated May 2, 2018, a true copy of which is attached as Exhibit E, DIW
advised Karma Holdings, as owner/landlord of the Facility, that it was to immediately cease and
desist the misuse of the Days Inn® Marks, and cease to misrepresent that Karma Holdings has a
relationship with DIW.

47. The termination of the Franchise Agreement precludes Kingston PA from any
further use of the Days Inn® Marks in or around the Facility.

48. | The termination of the Franchise Agreement precludes Kingston PA from any
further use of the Days Inn® Marks to induce the traveling public to use the Facility in any way.

49. The termination of the Franchise Agreement precludes Karma Holdings, as
owner/landlord of the Facility, from any further use of the Days Inn® Marks in or around the
Facility.

50. Since the termination of the Franchise Agreement, Kingston PA and Karma
Holdings have continued to use the Days Inn” Marks to induce the traveling public to rent guest
rooms at the Facility.

31. Since the termination of the Franchise Agreement, Kingston PA and Karma
Holdings have used the Days Inn® Marks without authorization to rent rooms through, among
other things, failure to remove Days Inn® signage and continuing to identify the Facility as a
Days Inn® guest lodging facility.

52. Kingston PA and Karma Holdings have continued to misuse the Days Inn” Marks
despite receiving notification from DIW to cease and desist from the misuse of the Days Inn”

Marks.

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FIRST COUNT

53. DIW repeats and makes a part hereof each and every allegation set forth in
paragraphs 1 through 52 of the Verified Complaint.

54. Section 32 of the Lanham Act, 15 U.S.C. § 1114(1)(a), provides in pertinent part
that “[a]Jny person who shall, without the consent of the registrant — use in commerce any
reproduction, counterfeit, copy, or colorable imitation of a registered mark in connection with the
sale, offering for sale, distribution, or advertising of any goods or services on or in connection
with which such use is likely to cause confusion, or to cause mistake, or to deceive. . . shall be
liable in a civil action by the registrant ....”

35. Kingston PA and Karma Holdings marketed, promoted, and rented, and continues
to market, promote, and rent rooms at the Facility through the unauthorized use of the Days Inn®
Marks, and such use caused and is likely to continue to cause confusion or mistake among
prospective or actual customers, in violation of Section 32 of the Lanham Act.

56. Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), provides in pertinent part
that “[a]ny person who, on or in connection with any goods or services . . . uses in commerce any
word, term, name, symbol . . . or any false designation of origin, false or misleading description
of fact, or false or misleading representation of fact, which is likely to cause confusion, or to
cause mistake, or to deceive as to affiliation . . . or as to the origin, sponsorship, or approval of . .
. goods and/or services .. . shall be liable in a civil action... .”

57. The acts of Kingston PA and Karma Holdings in marketing, promoting, and
renting rooms at the Facility, through and with the Days Inn® Marks, constitute:

a) a false designation of origin;

b) a false and misleading description of fact; and

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c) a false and misleading representation of fact;
that caused and are likely to continue to cause confusion, or to cause mistake, or deception, as to the
affiliation of Kingston PA and Karma Holdings’ Facility with DIW, and to cause confusion, or to
cause mistake, or deception, to the effect that DIW sponsors or approves of the guest lodging
services that Kingston PA and Karma Holdings provide at the Facility, all in violation of Section
43(a) of the Lanham Act.

58. Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), provides in pertinent part
that “[t]he owner of a famous mark shall be entitled, subject to the principles of equity and upon
such terms as the court deems reasonable, to an injunction against another person’s commercial
use in commerce of a mark or trade name, if such use begins after the mark has become famous
and causes dilution of the distinctive quality of the mark, and to obtain such other relief as is
provided in this subsection.”

59. Kingston PA and Karma Holdings’ use of the Days Inn® Marks in connection
with goods and services at the Facility, after the Days Inn* Marks became famous, caused and
will continue to cause dilution and disparagement of the distinctive quality of the Days Inn®
Marks, and lessened and will continue to lessen the capacity of the Days Inn® Marks to identify
and distinguish the goods and services of DIW, all in violation of Section 43(c) of the Lanham
Act.

60. Kingston PA and Karma Holdings’ on-going acts of infringement in violation of
Sections 32, 43(a), and 43(c) of the Lanham Act are malicious, fraudulent, willful, and

deliberate.

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61. | Kingston PA and Karma Holdings’ on-going acts of infringement in violation of
Sections 32, 43{a), and 43(c) of the Lanham Act have inflicted and continue to inflict irreparable
harm on DIW.

62. DIW has no adequate remedy at law.

63. No previous injunctive relief has been awarded with respect to this matter in this
case or any other case.

WHEREFORE, pursuant to 15 U.S.C. §§ 1114, and 1125(a) & (c), DIW demands
judgment against Kingston PA and Karma Holdings:

a) Preliminarily and permanently restraining and enjoining Kingston PA and Karma
Holdings, its affiliates, subsidiaries, officers, agents, servants, employees and attorneys, and all
those who act in concert or participation with them, from marketing, promoting, or selling guest
lodging services at the Facility through and with the Days Inn” Marks; and

b) Granting compensatory damages, treble damages, attorneys' fees, prejudgment
interest, costs of suit, and such other and further relief as this Court shall deem just and proper.

SECOND COUNT

64. | DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 63 of the Verified Complaint.

65. Pursuant to sections 3.6 and 4.8 of the Franchise Agreement, Kingston PA agreed
to allow DIW to examine, audit, and make copies of Kingston PA’s financial information,
including books, records, and accounts, relating to the gross room revenue earned at the Facility.

66. Kingston PA has engaged in acts and practices, as described, which amount to
infringement of the Days Inn® Marks in an unlawful, unfair, and fraudulent manner which is

likely to confuse the public.

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67. As a result, Kingston PA owes restitution and the disgorgement of profits, in an
amount unknown to DIW, and which amount cannot be ascertained without an accounting of the
receipts and disbursements, profit and loss statements, and other financial materials, statements
and books from Kingston PA.

WHEREFORE, DIW demands judgment ordering that Kingston PA account to DIW for
any and all revenue derived as a result of marketing, promoting, or selling guest lodging services at
the Facility through and with the Days Inn® Marks.

THIRD COUNT

68. DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 67 of the Verified Complaint.

69. Karma Holdings has engaged in acts and practices, as described, which amount to
infringement of the Days Inn® Marks in an unlawful, unfair, and fraudulent manner which is
likely to confuse the public.

70. As a result, Karma Holdings owes restitution and the disgorgement of profits, in
an amount unknown to DIW, and which amount cannot be ascertained without an accounting of
the receipts and disbursements, profit and loss statements, and other financial materials,
statements and books from Karma Holdings.

WHEREFORE, DIW demands judgment ordering that Karma Holdings account to DIW
for any and all revenue derived as a result of marketing, promoting, or selling guest lodging
services at the Facility through and with the Days Inn® Marks.

FOURTH COUNT
71. DIW repeats and makes a part hereof each and every allegation contained in

paragraphs | through 70 of the Verified Complaint.

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72. On November 28, 2017, Kingston PA unilaterally terminated the Franchise
Agreement when it stopped operating the Facility as a Days Inn® guest lodging facility.

73. Section 12.1 of the Franchise Agreement provides that, in the event of termination
of the Franchise Agreement due to action of the Franchisee, Kingston PA shall pay liquidated
damages to DIW within 30 days of termination.

74. Section 18.4 of the Franchise Agreement specifically set liquidated damages for
the Facility at $1,000.00 for each guest room of the Facility Kingston PA was authorized to
operate at the time of termination.

75. As a result of the termination of the Franchise Agreement, Kingston PA is
obligated to pay DIW liquidated damages in the amount of $125,000.00, as calculated pursuant
to sections 12.1] and 18.4 of the Franchise Agreement.

76. Notwithstanding DIW’s demand for payment, Kingston PA has failed to pay DIW
the liquidated damages as required in sections 12.1 and 18.4 of the Franchise Agreement.

77. DIW has been damaged by Kingston PA’s failure to pay liquidated damages.

WHEREFORE, DIW demands judgment against Kingston PA for liquidated damages in
the amount of $125,000.00, together with interest, attomeys’ fees, and costs of suit.

FIFTH COUNT

78.  DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 77 of the Verified Complaint.

79. By virtue of the premature termination of the Franchise Agreement, DIW
sustained a loss of future revenue over the remainder of the fifteen-year term of the Franchise

Agreement.

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80. If the Court determines that Kingston PA is not liable to pay DIW liquidated
damages as required by sections 12.1 and 18.4 of the Franchise Agreement then, in the
alternative, Kingston PA is liable to DIW for actual damages for the premature termination of the
Franchise Agreement.

81. DIW has been damaged by Kingston PA’s breach of its obligation to operate a
Days Inn® guest lodging facility for the remaining term of the Franchise Agreement.

WHEREFORE, DIW demands judgment against Kingston PA for actual damages in an
amount to be determined at trial, together with interest, attorneys’ fees, and costs of suit.

SIXTH COUNT

82. | DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 81 of the Verified Complaint.

83. Pursuant to section 7, section 18.1, and Schedule C of the Franchise Agreement,
Kingston PA was obligated to remit Recurring Fees to DIW.

84. Despite its obligation to do so, Kingston PA failed to remit certain of the
Recurring Fees due and owing under the Franchise Agreement in the current amount of
$70,523.26.

85. Kingston PA’s failure to remit the agreed Recurring Fees constitutes a breach of
the Franchise Agreement and has damaged DIW.

WHEREFORE, DIW demands judgment against Kingston PA for the Recurring Fees due
and owing under the Franchise Agreement, in the current amount of $70,523.26, together with

interest, attorneys’ fees, and costs of suit.

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SEVENTH COUNT

86. | DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 85 of the Verified Complaint.

87. At the time of the termination of the Franchise Agreement, Kingston PA was
obligated to pay DIW Recurring Fees.

88. Despite its obligation to do so, Kingston PA failed to pay certain of the Recurring
Fees due and owing under the Franchise Agreement in the current amount of $70,523.26.

89. In addition, Kingston PA benefited from its wrongful use of the Days Inn® Marks
after termination of the Franchise Agreement and paid no royalty or other Recurring Fees to
DIW in return for that benefit.

90. Kingston PA’s failure to compensate DIW constitutes unjust enrichment and has
damaged DIW.

WHEREFORE, DIW demands judgment against Kingston PA for the Recurring Fees due
and owing under the Franchise Agreement, in the current amount of $70,523.26, together with
interest, attorneys’ fees, and costs of suit, and royalties and other Recurring Fees that should be paid
to compensate DIW for the period during which Kingston PA misused the Days Inn® Marks and
was thereby unjustly enriched, together with interest and costs of suit.

EIGHTH COUNT

91. DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 90 of the Verified Complaint.

92. Pursuant to the terms of the Guaranty, B. Patel and J. Patel agreed, among other
things, that upon a default under the Franchise Agreement, they would immediately make each

payment and perform each obligation required of Kingston PA under the Franchise Agreement.

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93. Despite their obligation to do so, B. Patel and J. Patel have failed to make any
payments or perform or cause Kingston PA to perform each obligation required under the
Franchise Agreement.

94. Pursuant to the Guaranty, B. Patel and J. Patel are liable to DIW for Kingston
PA’s liquidated damages in the amount of $125,000.00, or actual damages in an amount to be
determined at trial, and Kingston PA’s Recurring Fees due and owing under the Franchise
Agreement, in the current amount of $70,523.26, and for those additional Recurring Fees
attributable to the period during which Kingston PA has misused the Days Inn® Marks.

WHEREFORE, DIW demands judgment against B. Patel and J. Patel for damages in the
amount of:

a) All liquidated damages, or actual damages, and Recurring Fees due and owing

under the Franchise Agreement, together with interest, attorneys’ fees, and costs of suit; and

b) All profits, royalties, and other Recurring Fees that should be paid to compensate

DIW for the period during which Kingston PA misused the Days Inn® Marks and was thereby
unjustly enriched, together with interest, attorneys’ fees, and costs of suit.
NINTH COUNT

95. | DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 94 of the Verified Complaint.

96, _ By virtue of its ownership of the Facility, Karma Holdings has benefited from the
use of the Days Inn® Marks.

97. Despite its obligation to do so, Karma Holdings has failed to compensate DIW for

that benefit.

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98. Karma Holdings’ failure to compensate DIW constitutes unjust enrichment and
has damaged DIW.

WHEREFORE, DIW demands judgment against Karma Holdings for compensatory
damages, attorneys’ fees, prejudgment interest, costs of suit, and such other and further relief as
this Court shall deem just and proper.

TENTH COUNT

99.  DIW repeats and makes a part hereof each and every allegation contained in
paragraphs | through 98 of the Verified Complaint.

100. On November 28, 2017, Kingston PA unilaterally terminated the Franchise
Agreement when it ceased operating the Facility as a Days Inn® guest lodging facility.

101. Section 13.2 of the Franchise Agreement provides that, when the Franchise
Agreement is terminated, DIW has the right to “without prior notice enter the Facility, and any
other parcels, . . . and paint over or remove and purchase for $10.00, all or part of any interior or
exterior Mark-bearing signage (or signage face plates), including billboards, whether or not
located at the Facility, that [Kingston PA has] not removed or obliterated within five days after
termination.”

102. Kingston PA continues to market, promote, and rent rooms at the Facility through
the unauthorized use of the Days Inn® Marks, and such use caused and is likely to continue to
cause confusion or mistake among prospective or actual customers.

103. Kingston PA’s unauthorized use of the Days Inn® Marks has inflicted and
continues to inflict irreparable harm on DIW.

104. Karma Holdings’ misuse of the Days Inn® Marks has inflicted and continues to

inflict irreparable harm on DIW.

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WHEREFORE, DIW demands judgment declaring that DIW, or its authorized agent,
has the right, without prior notice to Defendants, to enter the property at the Facility and remove

any and all exterior signage, exterior items and other exterior materials displaying the Days Inn®

 

Marks.
Connell Foley LLP
Attorneys for Plaintiff,
Days Inns Worldwide, Inc.
By: ’
Bryan P. Couch
Dated: \2| (7 lis
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CERTIFICATION PURSUANT TO L. CIV. R. 11.2
I certify that, to the best of my knowledge, this matter is not the subject of any other action

pending in any court or of any pending arbitration or administrative proceeding.

Connell Foley LLP
Attorneys for Plaintiff,
Days Inns Worldwide, Inc.

Bryan P. Couch

Dated: [2 li lig

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VERIFICATION

STATE OF NEW JERSEY )
) ss:
COUNTY OF MORRIS )

Michael R. Piccola, of full age, being duly sworn according to law, upon his oath, deposes

and says:

I am Senior Vice President, Contracts Administration & Compliance for Days Inns

Worldwide, Inc., which is plaintiff in this action.

I have read the foregoing Verified Complaint and all the allegations contained therein.
Except as to allegations alleged upon information and belief, which allegations | believe to be true,
all the allegations in the Verified Complaint are true based on my personal knowledge, the records

of DIW or information available through employees of DIW.

 

MICHAEL R. PICCOLA

Swom and subscribed to before
me this /?"day of prrembS , 2018

NOTARY PUBLIC

Rie B WEINER
COOTARY PUBLIC
STAT Ot ON EXPIRES
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MY COnPRIL 23, 2023

 

 

 

 

 

 

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EXHIBIT A
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IT [§ THEREFORE AGRELD:

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LEASE AGREEMENT

This LEASE AGREEMENT i$ made on March 1, 2016 between Karma Holdings, LLC
(heresinafier referred to as “Landiord") and Kingston PA, LLC (hererinafler referred to us
"Tenant").

1, PREMISES: The Landlord shall lease to the tenant the premises located at: 125-unit hotel

tocated at 140 Hotel Heights, Clearfield, PA. Ic

 

LEASE TERM: The term of this lease shall be for a period of _&_ years, commencing on_

March |. 2016 and termigating on February 28, 20% 5 | se BP

RENTAL AMOUNT: THe Tenant shat] pay to the landlord en annual sum of $216,000.00
to lease the property. Rental payments shalt be paid in momhly payments, cach of which
shall be in the amount of $18.000. cach of which shall be paid on the 10th day of the month.
‘Tenant shall pay all opergtional expenses, real estate taxes, and insurance costs.

OPTION.TO RENEW: The Tenant shall have un option to renew the lense on the premises
for a Be ear period upon the following terms and conditions:
* The Tenant's option tp rencw must be exercised in writing and must be rcecived by the
landlord no less than] (15 days) before the expiration of this leasc or any extensions
thercof,

ARBITRATION: Any controversy or claim arising out of or relating to this leasc
agreement or the breach thereof shall be settled by arbitration in accordance with the rules
then obwining of the American Arbitration Association, and judgement upon the award
rendered may be entered and enforced in any court having jurisdiction thereof.

NO VIOLATION OR BREACH: The Landlord and the Tenant warrant and represent each
to the other that the performance of this Agreement does not violate any Jaw. statute, local
ordinance, state or federal regulation, regarding controlled substunce, ar otherwise, or any
court order or administrative order or ruling, nor is such performiuice i in violation of any
loan documents conditions or restrictions in cffece for financing, whether secured or
unsecured.

BENEFIT: ‘his agreement shall be binding upon and inure to the benefit of the partics
hereto and their legal representatives, successors and assigns.

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8. NOTICES: Any notice fequired or desired to be given under this Agreement shail be
deemed given in waiting. sent by certified mail to the addresses of the parties to this
Agreement as follows:

To Tenant:

Kingston PA LLG
150 Hotel Heights
Clearfield. PA

To Landlord:

Karma Moldings LLC
136 Hoxel Heights:
Clearfield. PA

9 CAPTIONS: Captions ort used jn this agreement for convenience only and are not intended
to be used in the construction or in the interpretation of this agrecment.

10. INVALID PROVISION; [n the event any provision of this Agreement is held to be void,
Invalid ar unenforceable in any respect, then the same shull not affect the remaining
provisions hereof. which ‘shall continue in full force and eNect.

i, ENTIRE AGREEMENT} This Agreement contains the entire understanding of the parties.

Tc nmy not be changed orally. This Agreement may de amended or modified only in writing
that has been cxecuted by both parties hereto.

12. INTERPRETATION: This Lease Aprcement shall be imerpreted under the faws of the
Commonwealth of Pennsylvania.

1ANDLORD TENANT

Kanna Holdings LLC Kingston PA iG.
} 03/01/2016 Bo AQD.0 03/01/2016

| Bharti Pate}

 

 

 
   

 

 

 

atel. President

 

 

 

 

 

 
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EXHIBIT B
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Location: Clearfield, PA _
Entity No: 07330 <4}
Unit No.: |

DAYS INNS WORLDWIDE, INC.
FRANCHISE AGREEMENT

THIS FRANCHISE AGREEMENT (“Agreement”), datcd Wit PCU & . 20
between DAYS INNS WORLDWIDE, INC., a Delaware corporation (‘we”, “our”, or “us”), and
Kingston PA LLC, a Pennsylvania limited liability company (“you”). The definitions of
capitalized terms arc found in Appendix A. In consideration of the following mutual promiscs,
the parties agree as follows:

1. Franchise. We have the exclusive right to franchise to you the distinctive “Days [nn” System
for providing transient guest lodging services. We grant to you and you accept the Franchise,
effective and beginning on the Opening Date and ending on the carlicst to occur of the Term’s
expiration or a Termination. The Franchise is effective only at the Location and may not be
transferred or relocated. You will call the Facility a “Days Inn.” You may adopt additional or
secondary designations for the Facility with our prior written consent, which we may withhold,
condition, or withdraw on written notice in our sole discretion. You shall not affiliate or identify
the Facility with another franchise system. reservation system, brand, cooperative or registered
mark during the Term.

2. Protected Territory. We will not own, operate, lease, manage, or license any party but you to
operate a Chain Facility in the “Protected Territory”, defined below, while this Agreement is in effect.
We may own, operate, Icasc, manage, franchise or license anyone to operate any Chain Facility located
anywhere outside the Protected Territory without any restriction or obligation to you. We may grant
Protected Territories for other Chain Facilities that overlap your Protected Territory. While this
Agreement is in effect, neither you nor your officers, directors, general partners or owners of 25% or
more oy aes Equity ee may ao operate, lease, manage or sitll () any guest lodging

 

and/or (i) any time share resort, vacation club, residence club, factional Gwnership pater!
condominiurn/apartment leasing or rental business, or the like, for any facility or business that
shares directly or indirectly, common areas, amenitics, recrcation facilitics, services, supplies or
support activities with the Facility. You will use any information obtained through the Reservation
System to refer guests, directly or indirectly. only to Chain Facilitics, This Section docs not apply to
any Chain Facility located in the Protected Territory on the Effective Date, which we may renew,
relicense, allow to expand, or replace with a replacement Facility located within the same trading arca
having not more than 120% of the guest rooms of the replaced Chain Facility if its franchise with us
terminates or is not rencwed, The Protected Territory fairly represents the Facility's trading arca, and
you acknowledge that. There arc no express or implied territorial rights or agreements between the
parties except as statcd in this Section. You irrevocably waive any right to seek or obtain the benefits
of any policy we now follow or may in the future follow to notify you about proposed Chain Facilities
in the general area of the Facility, solicit information about the clfect of the proposed Chain Facility on
the revenue or occupancy of the Facility or decide whether to add the proposed Chain Facility to the

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Chain based on the potential effect of the proposed Chain Facility on the Facility or its performance.
You further acknowledge and agree that notwithstanding the foregoing, we may opcrate, lease,
manage, or license any other party to operate a Chain Facility in the Protected Territory beginning (i)
six months prior to the expiration of this Agreement, or (ii) as of the date that a date for the premature
termination of this Agreement has been confirmed in writing by us. The covenants in this Section arc
mutually dependent; if you breach this Section, your Protected Territory will be the Location only. The
Protected Territory means an area to include a six (6) mile radius, using the hotel as the
centerpoint.

3. Yourl nt in

3.[ Pre-Opening Improvements. You must select, acquire, construct and/or renovate the
Facility as provided in Schedule D.

3.2 Operation. You will operate and maintain the Facility continuously after the Opening Date
on a year-round basis as required by System Standards and offer transient guest lodging and other
related services of the Facility {including those specified on Schedule B) to the public in
compliance with all federal, state, and local laws, regulations and ordinances as well as System
Standards. You will keep the Facility in a clean, neat, and sanitary condition. You will clean,
repair, replace, renovate, refurbish, paint, and redecorate the Facility and its FF&E as and when
needed to comply with System Standards. The Facility will be managed by either a management
company or an individual manager with significant training and experience in general management
of similar lodging facilities. The Facility will accept payment from guests by all credit and debit
cards we designate in the System Standards Manual. The Facility will follow standard industry
practices for safeguarding cardholder information, applicable laws and regulations, and such other
requirements as we may include in the System Standards Manual or as we may otherwise communicate
from time to time for such purpose. You may add to or discontinue the amenitics, services and
facilities described in Schedule B, or lease or subcontract any service or portion of the Facility,
only with our prior written consent which we will not unreasonably withhold or delay. Your front
desk operation, telephone system, parking lot, swimming pool and other guest service Iacilities
.may not be shared with or used by guests of another lodging or housing facility. You
acknowledge that any breach of System Standards for the Facility, its guest amenities, and your
guest service performance is a matcrial breach of this Agreement. Upon our reasonable request,
you will provide us with then-current copies of the documents cvidencing your ownership of, or
right to possess, the Facility and/or the real property upon which the Facility is located, and a
complete and accurate list of all of your owners and their Equity Interests.

3.3 Training. You (or a person with executive authority if you are an entity) and the Facility’s
general manager (or other representative who exercises day to day operational authority) will
attend the training programs described in Section 4.] we designate as mandatory for franchisees
and general managers, respectively. You will train or cause the training of all Facility personnel as
and when required by System Standards and this Agreement, You will pay for all travel, lodging,
meals and compensation expenses of the people you send for training programs, the cost of
training materials and other reasonable charges we may impose for training under Section 4.1, and
all travel, lodging, meal and facility and equipment rental expenses of our representatives if
training is provided at the Facility.

 

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3.4 Marketing.

3.4.1 You will participate in System marketing programs, including the Directory, if any, the
Reservation System, and guest loyalty programs. You will obtain and maintain the computer and
communications service and equipment we specify to participate in the Reservation System. You
will comply with our rules and standards for participation, and will honor reservations and
commitments to guests and travel industry participants. You authorize us to offer and sell
reservations for rooms and services at the Facility according to the rulcs of participation and
System Standards. You may implement, at your option and expense, your own local advertising.
Your advertising materials must use the Marks correctly, end must comply with System Standards

‘or be approved in writing by us prior to publication. You will stop using any non-conforming,
out-dated or misleading advertising materials if we so request.

3.4.2 You may participate in any regional marketing, training or management alliance or
cooperative of Chain franchisees formed to serve the Chain Facilities in your area. We may assist
the cooperative with collecting contributions. You may be excluded from cooperative programs
and benefits if you do not participate in all cooperative programs according to their terms,
including making payments and contributions when due.

3.4.3. The Facility must participate in all mandatory Internet and distribution marketing activities
and programs in accordance with the System Standards Manual, including any arrangements we |
make with third party distribution channels. You must provide us with information about the
Facility and use our approved photographer for taking photographs of the Facility for posting on
the Chain Websites, third party travel websites and various marketing media. The content you
provide us or use yourself for any Internet or distribution marketing activities must be true,
correct and accurate, and you will promptly notify us in writing, in accordance with our processes
that are then in effect, when any correction to the contcnt becomes necessary. You must
promptly modify at our request the content of any Internet or distribution marketing materials for
the Facility you use, authorize, display or provide to conform to System Standards. You will
discontinue any Internet or distribution marketing activities that conflict, in our reasonable
discretion, with Chain-wide Internet or distribution marketing activities. You must honor the
terms of any participation agreement you sign for Internet or distribution markcting activities.
You will pay when due any fees, commissions, charges and reimbursements relating to Internet or
distribution marketing activities (i) in which you agree to participate, or (ii) that we designate as
.mandetory on a Chain-wide basis, We may suspend the Facility’s participation in Internct and/or
distribution marketing activities if you default under this Agreement.

3.4.4 You will participate in the Wyndham Rewards program or any successor gues! rewards or
loyalty program we determine is appropriate and pay the Loyalty Program Charge associated with
the program as set forth in Schedule C. The Wyndham Rewards Front Desk Guide sets forth
additional standards, which you agree to follow. The Front Desk Guide, including fees assessed
and reimbursements rates, may be revised by us or our affiliates at any time upon thirty (30) days’
prior notice.

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3.5 Governmental Matters. You will obtain as and when needed all governmental permits,
licenses and consents required by law to construct, acquire, renovate, operate and maintain the
Facility and to offer all services you advertise or promote. You will pay when duc or properly
contest all federal, state and local payroll, withholding, unemployment. beverage, permit, license,
property, ad valorem and other taxes, assessments, fees, charges, penallics and intcrest, and will
file when due all governmental returns, notices and other filings. You will comply with all
applicable federal, state and local laws, regulations and orders applicable to you and/or the
Facility, including those combating terrorism such as the USA Patriot Act and Executive
Order 13224.

3.6 Financial Books & Records: Audits.

3.6.1 The Facility’s transactions must be timely and accurately recorded in accounting books
and records prepared on an accrual basis compliant with generally accepted accounting principles
of the United States (“GAAP”) and consistent with the most recent edition of the Uniform System
of Accounts for the Lodging Industry published by the American Hotel & Motel Association, as
modified by this Agreement and System Standards. You acknowledge that your accurate
accounting for and reporting of Gross Room Revenues is a matcrial obligation you accept under
this Agreement.

3.6.2 Upon our request, you will send to us copies of financial statements, (ax returns, and other
records relating to the Facility for the applicable accounting period that we require under this
Agrecment and System Standards. We may notify you of a date on which we propose to audit the
Facility’s books and records at the Facility. You will be deemed to confirm our proposed date unicss
you follow the instructions with the audit notice for changing the date. You need to inform us where
the books and records will be produced. You need to produce for our auditors at the confirmed time
and place for the audit the books, records, tax returns and financial statements for the Facility. We may
also perform an audit of the Facility’s books and records without advance notice. Your staff must
cooperate with and assist our auditors to perform any audit we conduct.

3.6.3. We will notify you in writing if you default under this Agreement because (i) you do not cure a
violation of Section 3.6.2 within 30 days afler the date of the initial audit, (ii) you cancel two or more
previously scheduled audits, (ii) you refuse to admit our auditors during normal business hours at the
place where you maintain the Facility's books and records, or refuse to produce the books and records
at the audit or scnd them to us as required under this Agreement and System Standards for the
applicable accounting periods, (iv) our audit determines that the books and records you produced are
incomplete or show evidence of tampering or violation of gencrally accepted internal control
procedures, or (v) our audit determines that that you have reported to us less than 97% of the Facility’s
Gross Room Revenues for any fiscal year preceding the audit. Our notice of default may include, in
our sole discretion and as part of your performance necded to cure the default under this Section 3.6,
an “Accounting Procedure Notice.” The Accounting Procedure Notice requires that you obtain and
deliver to us, within 90 days afler the end of each of your next three fiscal years ending after the
Accounting Procedure Notice, an audii opinion signed by an independent certificd public accountant
who is a member of the American Institute of Certified Public Accountants addressed to us thal the
Faciliy’s Gross Room Revenues you reported to us during the fiscal year fairly present the Gross
Room Revenues of the Facility computed in accordance with this Agrcement for the fiscal ycar. You

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must also pay any deficiency in Recurring Fees, any Audit Fee, as defined in Scction 4.8, we assess you
for your default of Scction 3.6 as described in Section 4.8, and/or other charges we identify and invoice
as a result of the audit.

3.6.4 You will, at your expense, prepare and submit to us by the third day of cach month, a
Statement in the form prescribed by us, accurately reflecting for the immediately preceding month
all Gross Room Revenues and such other data or information as we may require. You must
submit your statements to us using our on-line reporting and payment tool or through such other
technology or means as we may establish from time to time.

3.7 Inspections. You acknowledge that the Facility's participation in our quality assurance
inspection program (including unannounced inspections) is a matcrial obligation you accept under
this Agreement. You will permit our representatives to perform quality assurance inspections of
the Facility al any time with or without advance notice. The inspections will commence during
normal business hours although we may observe Facility operation at any time. You and the
Facility staff will cooperate with the representetive performing the inspection. If the Facility fails
an inspection, you refuse to cooperate with our representative, or you refuse to comply with our
published inspection System Standards, then you will pay us when invoiced for any Reinspection
Fee specified in the System Standards Manual plus the reasonable travel, lodging and meal costs
our representative incurs for a reinspection. You will also be charged the Reinspection Fee if we
must return to the Facility to inspect it as a result of your failure to complete any Improvement
Obligation by the deadline established in the Punch List, as set forth in Schedule D. We may also
include the results of paper and clectronic customer satisfaction surveys of your guests as well as
unsolicited feedback reccived from your guests in your fina] quality assurance score. We may
publish and disclose the results of quality assurance inspections and gues{ surveys. We may, al
our discretion, implement a chain-wide quality assurance/mystery shopper inspection program to
be performed by a reputable third party. You must provide free lodging for the inspector(s) when
he/she visits your Facility.

3.8 Insurance. You will obtain and maintain during the Term of this Agreement the insurance
coverage required under the Sysicm Standards Manual from insurers meeting the standards
established in the Manual. Unless we instruct you otherwise, your liability insurance policies will
name as additional insureds Days Inns Worldwide, Inc., Wyndham Worldwide Corporation,
Wyndham Hotel Group, LLC, and their current and former subsidiaries, affiliates. successors and
assigns as their interests may appear. All policies must be primary and non-contributory with or
excess of any insurance coverage that may be available to an additional insured. You must submit
‘fo us, annually, a copy of the certificate of or other evidence of renewal or extension of cach such

insurance policy as required by the System Standards.

3.9 Conferences. You (or your representative with cxccutive authority if you are an entity) will
attend cach Chain conference and pay the Conference Fee we set for Chain franchisces, if and
when we determine to hold a Chain conference. The Chain conference may be held as part of a
Wyndham Hotel Group, LLC multi-brand conference with special sessions and programs for our
Chain only. Mandatory recurrent training for franchisces and managers described in Section 4.1.4
may be held at a conference. The Fee will be the same for all Chain Facilities that we franchise in
the United States. You will reccive reasonable notice of a Chain conference. We will invoice and

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charge you for the Conference Fee even if you do not attend the Chain Conference.

3.10 Purchasing and Other Services. You will purchase or obtain certain items we designate
as proprietary or that bear or depict the Marks, such as signage, only from suppliers we approve.
You may purchase other items for the Facility from any competent source you select, so long as
the items mect or cxcecd System Standards.

3.11 Good Will You will use reasonable efforts to protect, maintain and promote the name “Days
Inn” and its distinguishing charactcristics, and the other Marks. You will not permit or allow your
officers, directors, principals, employces, representatives, or guests of the Facility to engage in conduct
which is: unlawful or damaging to the good will or public image of the Chain or System. You agree
that, in event that you or any of your principals or Guarantors is or is discovered to have been,
convicted of a felony or any other offense likely to reflect adversely upon us, the System or the Marks,
such conviction is a material, incurable breach of this Section. You will participate in Chain-wide guest
service and satisfaction guaranty programs we require in good faith for all Chain Facilities. You will
follow System Standards for identification of the Facility and for you to avoid confusion on the part of
guests, creditors, lenders, investors and the public as to your ownership and operation of the Facility,
and the identity of your owners. You shall use your best efforts to promote usage of other Chain
Facilities by members of the public, Except as provided in the System Standards Manual or if you
obtain our prior written consent, which we may wilhhoid in our sole discretion, neither your nor
the Facility shall promote or advertise any competing business at the Facility including, but not
limited to, any other guest lodging facility, time share resort, vacation club, residence club.
fractional ownership residence, condominium/apartment leasing or rental business, or the like,
unless we or one of our affiliates franchise, manage or own that business.

3.12 Facility Modifications. You may not materially modify, diminish or expand the Facility (or
change its interior design, layout, FF&E, or facilities) until you receive our prior written consent, which
we will not unreasonably withhold or delay, You will pay our Rooms Addition Fee then in effect for
each guest room you add to the Facility before you begin construction of any expansion. If we so
request, you will obtain our prior written approval of the plans and specifications for any material
modification, which we will not unreasonably withhold or delay. You will not open to the public any
material modification until we inspect it for compliance with the Approved Plans and Sysiem
Standards,

3.13 Courtesy Lodging. You will provide lodging at the “Employee Rate” cstablished in the
System Stendards Manual from time to time (but only to the extent that adequate room vacancies
exist) to our representatives and members of their immediate family, but not more than three standard
guest rooms at the same time.

3.14 Minor Renovations. Beginning three years after the Opening Date, we may issue a “Minor
Renovation Notice” to you that will specify reasonable Facility upgrading and renovation requirements
(a “Minor Renovation”) to be commenced no sooner than 90 days afler the notice is issued, having an
ageregate cost for labor, FF&E and materials estimated by us lo be not more than the Minor
Renovation Ceiling Amount. You will perform the Minor Renovations as and when the Minor
Renovation Notice requires. We will not issue a Minor Renovation Notice within three years after the
date of'a prior Minor Renovation Notice, or ifthe three most recent quality assurance inspection scores

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of the Facility averaged no less than 80% and the most recent quality assurance inspection score for the
Facility was no less than 75% (or equivalent scores under a successor quality assurance scoring
system we employ), when the Facility is otherwise eligible for a Minor Renovation.

3.15 Technology Standards & Communications. You recognize that the System requires you to
acquire, operate and maintain a computcr-based property management system and provide guests with
innovative technology for communications and entertainment. You must purchase the computer
system and other equipment and software that we spccify. We may modify System Standards to
require new technology at al! Chain Facilities. At our request, you shall participate in any intranet or
extranet system developed for use in connection with the System. Such intranet or extranet
system may be combined with that of our affiliates. You shall agree to such terms and conditions
for the use of such intranet or extranet system as we may prescribe, which may include, among
other things: (a) confidentiality requirements for materials transmitted via such system; (b)
password ‘protocols and other security precautions; (c) grounds and procedures for our
suspension or revocation of access to the system by you and others; and (d) a privacy policy
governing the parties’ access to and use of electronic communications posted on electronic
bulletin boards or transmitted via the system. You shall pay any fee imposed [rom time to time by
us or a third party’service provider in connection with hosting such system.

4. Qur Operating and Service Obligations. We will provide you with the following services

and assistance:

4.1 Training. We may offer (directly or indirectly by subcontracting with an affiliate or a third party)
orientation training, re-certification training, remedial training and supplemental training.

4.1.1 Orientation Training. We will offer at our corporate offices or at another location we
designate, an orientation training program. The program will not exceed two weeks in duration and
will cover such topics as operating a Chain Facility, marketing and sales, financial management, guest
services and people management. We may administer certain diagnostic tests via the Internet to
measure the skill set of your general manager and, based in part of his/her score, offer certain [nternct-
based training as a supplement to the classroom training experience. Your initial gcneral manager (or
other representative who exercises day to day operational authority) for the Facility must complete this
program to our satisfaction no later than 90 days after the Opening Date. Any replacement gencral
manager must complete orientation to our satisfaction within 90 days after he/she assumes the position.
If we do not offer a place in orientation within the above time frame, your rcplacement gencral
manager must attend the next program held at which we offer a place. Your general manager for the
Facility must complete orientation even if you employ managers al other Chain Facilities who have
already received this training. IF this is your first System franchise, or you have not attended orientation
within the last two (2) years, in addition to your general manager, you (or a person with executive
authority if you are an entity) must attend orientation by the Opening Date. Financial institutions and
real estate mortgage investment conduits arc cxempt from the obligation to attend orientation, but may
choose to do so at their option, We charge you tuition for orientation for your general manager
which is payable as part of the Integration Services Fee set forth on Schedule D. If he/she does
not attend orientation within 90 days after the Opening Date, and for any replacement general
manager, you must pay a separate tuition al the rate then in effect for the program when your
manager attends the program. If you are required to attend orientation, we will charge you tuition

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of $825 which is payable by the schedulcd date for the propram. We may charge you full or
discounted tuition for “refresher” orientation for your general manager or for additional staff members
who attend orientation with your general manager. We will charge the then in effect discounted tuition
for any additional staff members who attend orientation with your gencral manager. We may charge
you “No-Show Fees” or “Cancellation Fees” if you, your gencral manager or any other member
of your staff (i) fails to register for and/or attend orientation by the required deadline. (ii)
registers, but is a “no show”, for orientation, or (iii) fails to notify us at least scven (7) days in
advance that he/she wilt be unable to attend a scheduled program. This is in addition to the tuition
you must pay us for your general manager at the then in effect rate when he/she attends
orientation. See Section 4.1.5. You mwst also pay for your, your manager and/or additional staif
member’s travel, lodging, meals, incidental expenses, compensation and benefits.

4.1.2 Remedial Training. We may require you, your gencral manager and/or your staff to
participate in remedial training if the Facility receives a D or F (or cquivalent scorc) on a quality
assurance inspection, a D or F score on quality assurance electronic guest survey (or equivalent
evaluation system), or expericnces significant complaints to our customer carc department or posted on
third-perty travel websites, distribution channels, blogs, social networks and other forums, as
determined by us in our sole discretion. This training may be offered at our corporate offices, al a
regional location, on-line or at the Facility. The training may be in the form of onc or more classes
held at different times and locations as we may require. You must pay the tuition in effect for this
program when it is offered to you. If the training is provided at the Facility, you must provide loding
for our trainers. In addition, if at the time of your initial post-opening quality assurance inspection,
you reccive (i) a failure rating on guest room cicanliness and (ii) an average quality assurance
score of F on cleanliness of gucstroom category or cleanliness of bathroom category (based on a
minimum of 10 electronic quality assurance guest surveys), then we may require you to take a one
day remedial class on housckceping within 60 days after the inspection. The tuition for an on-line
class is currently $250, but is subject to increase in the future. The fee for an on-site customer
experience asscssment or training class is currently $1,300, but is subject to increase in the future.

4.1.3 Supplemental Training. You must subscribe 1o our c-learning modules and other
cducational resources, accessible by you and your staff via the Internel, and pay us the annual fee for
this service. All general managers must compicte recertification training at such intervals as we
may establish in the System Standards Manual. You must pay us the tuition then in effect for the
program. You must subscribe to our c-learning training program which offers a varicty of hospitality
courecs and vidcos for gencral managers and linc level staff. We charge you an annual training
Tesource access fee based on the amount our third party content provider charges us, plus a rcasonable
service fee for administcring and marketing the program. The annual training resource {ce is currently
$65, but is subject to increase in the future. We may offer other mandatory or optional training
programs for reasonable tuition or without charge. Recertification and other supplemental training may
be offered in our corporate offices or other locations or held in conjunction with a Chain lodging
conference. You must pay the then current tuition for the traming as well as for your representative’s
travel, lodging, meals, incidental expenses, compensation and benefits while attending the training. We
may offer, rent or sell to you video tapes, computer discs or other oresite training aids and materials, or
require you to buy them at reasonable prices. We may also offer Internet-based training via the Chain’s

intranct website.

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4.1.4 No Show and Cancellation Fees. If you, your general manager or any other member of
your staff you designatc, registers for a training program but fails to attend such program as
scheduled without notifying us in advance, we may charge you a No-Show Fee of 50% of the
tuition for the program. Ifyou, your general manager or any other member of your staff docs not
register for and attend any requircd training within the time period sct forth in this Section 4.| or in the
System Standards Manual, we may charge you a fee of 100% of the tuition for the program. Ifyou or
any member of your staff cancels participation in any training program Icss than seven (7) days
before it is schedulcd to be held, we may charge you a Cancellation Fee of 25% of the tuition for
the program. No-Show and Cancellation Fees arc in addition to the tuition you will have to pay at
the then offered rate when you or your general manager attends the program, We may assess you
additional No-Show or Cancellation Fees for continued failures by you under Scction 4.1.

4.2 Reservation System. We will operate and maintain (directly or by subcontracting with an affiliate
or one or more third partics) a computerized Reservation System or such technological substitute(s) as
we determine, in our discretion. We will use the System Assessment Fee for the acquisition.
development, support, equipping, maintenance, improvement and operation of the Reservation System.
We or our approved supplier will provide soflwarc maintenance and support for any soflware we or
an approved supplier license to you to connect lo the Reservation System if'you are up to date in your
payment of Recurring Fecs and all other fees you must pay under any other agreement with us, an
affiliatc or the supplicr, as applicable, During the Term, the Facility will participate in the
Reservation Sysicm on an exclusive basis, including entering into all related technology
agreements and complying with all terms and conditions which we establish from time to time for
participation. The Facility may not book any reservations through any other electronic reservation
system, booking engine, unapproved third party distribution system or other technology. You shall
own all Guest Information within your possession or any service provider holding such
information on your behalf, and we shall own all Guest (nformation within our possession or any
service provider holding such information on our behalf, To the extent that you and we both
possess identical Guest Information, your and our respective ownership rights with regard 10 such
Guest Information shal! be separate and independent from one another. We have the right to
provide reservation services to lodging facilities other than Chain Facilities or to other parties,

4,3 Marketing.

4.3.1 We will promote public awareness and usage of Chain Facilities by implementing advertising.
promotion, publicity, market rescarch, loyalty marketing and other marketing programs, training
programs and relatcd aclivitics as we deem appropriate. We will determine in our discretion: (i) The
nature and type of media placement; (ii) The allocation (if any) among international, national, regional
and local markets; and (iii) The nature and type of advertising copy. other materials and programs. We
or an affiliate may be reimbursed for the reasonable direct and indircet costs, overhcad or other
expenses of providing marketing services. We are not obligated to supplement or advance funds
available from System franchisces to pay for marketing activities. We do not promise that the Facility

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or you will benefit directly or proportionately from marketing activitics,

4.3.2 We may, at our discretion, implement special imtermational, national, regional or local
promotional programs (which may or may not include the Facility) as we decm appropriate and may
make available to you (to use at your option) media advertising copy and other marketing materials for

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prices which reasonably cover the materials’ direct and indirect costs.

4.3.3 We may, at our discretion, implement “group booking” programs created to encourage use of
Chain Facilities for tours, conventions and the like, possibly for an additional lee.

4,4 Purchasing and Other Services. We may offer optional assistance to you with purchasing items
uscd at or in the Facility. Our affiliates may offer this service on our behalf, We may restrict the
vendors authorized to scll proprictary or Mark-bearing items in order to control quality, provide for
consistent scrvice or obtain volume discounts. We will maintain and provide to you lists of suppliers
approved to furnish Mark-bearing items, or whose products conform to System Standards.

4.5 The System. We will control and establish requirements for all aspects of the System. We may, in
our discretion, change, delete from or add to the System, including any of the Marks or System
Standards, in response to changing market conditions. We may, in our discretion, permit deviations
from System Standards, based on local conditions and our assessment of the circumstances, We may,
in our discretion, change the designation standards for the Chain and then require that you change the
designation of the Facility and related presentation of that designation where it appears. We will not be
liable to you for any expenses, losses or damages you may sustain as a result of any Mark addition,
modification, substitution or discontinuation.

4.6 Consultations and Standards Compliance. We will assist you to understand your obligations
under System Standards by iclephone, mail, during any visits by our cmployccs to the Facility, through
the System Standards Manual, at training sessions and during conferences, meetings, and visits we
conduct. We will provide tclephone and mail consukation on Facility operation and markeling through
our representatives. We will offer you access to any Internet website we may maintain to provide
Chain franchisees with information and services, subject to any rules, policies and procedures we
establish for its use and access and to this Agreement. We may limil or deny access to any such
website while you are in defauit under this Agreement.

4.7 System Standards Manual and Other Publications. We will specify System Standards in the
System Standards Manual, policy statements or othcr publications which we may make available
to you via our Chain intranet, in paper copics or through another medium. You will at all times
comply with the System Standards, You acknowledge that the System Standards and the System
Standards Manual are designed to protect the System and the Marks, and not to control the day-
to-day operation of your business. We will provide you with access to the System Standards
Manual promptly after we sign this Agreement. We will notify you via our Chain intranct or another
medium of any System Standards Manual revisions and/or supplements as and when issucd as well as
any other publications and policy statements in effect for Chain franchisees from time to time.

4.8 Inspections and Audits, We have the unlimitcd right to conduct unannounced quality assurance
inspections of the Facility and ils operations, records and Mark usage to test the Facility’s compliance
with System Standards and this Agreement, and the audits described in Scction 3.6. We have the
unlimited right to reinspect if the Facility does not achieve the score required on an inspection. We may
impose a reinspection fee and will charge you for our costs as provided in Section 3.7, In connection
with an audit, you will pay us any understated amount plus intcrest under Section 3.6. If the
understated amount is three percent (3%) or more of the total amount owed during a six month period,

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you will also pay us an “Audit Fee” equal to the costs and expenses associated with (he audit. Our
inspections are solely for the purposes of checking compliance with System Standards,

5. Term. The Term begins on the date that we insert in the preamble of this Agreement after we
sign it (the “Effective Date”) and expires at the end of the fificenth (15") Franchise Ycar.
NEITHER PARTY HAS RENEWAL RIGHTS OR OPTIONS, However, if applicable law
requires us (o offer renewal rights, and you desire to renew this Agreement, then you will apply
for a renewal franchise agreement al keast six months, but not more than nine months, prior to the
expiration datc, and subject to such applicable law, you will have to mect our then-current
requirements for applicants secking a franchise agreement, which may include (i) executing our
then-current form of license and other agreements, which license and other agreements may
contain materially different terms and provisions (such as operating standards and {ces) from
those contained in this Agreement, (ii) executing a gencral rckease of us and our affiliates, in form
and substance satisfactory to us, (iii) completing a property improvement plan, and (iv) paying a
Standard renewal fee, if then applicable.

6. Initial Fees.

Application and Initial Fees. You musi pay us a non-refundable Application Fee of $1,000.00. If
your franchise is for a new construction or conversion Facility, you must pay us an Initial Fee. [f you
are a transferee of an existing Facility or arc renewing an cxisting franchise, you will pay us a Relicense
Fec, The amount of your Initial or Relicense Fee is $ 21,000 which shall be paid pursuant to the
Promissory Note attached hereto, and is fully carned when we sign this Agreement. The Application
Fee you paid in connection with this Agreement shall be credited against the amount of your Initial or
Relicense Fec.

7. Recurring Fees, Taxes and Interest.

7.1 You will pay us certain “Recurring Fees” cach month of the Term payable in U.S. dollars (or such
other currency as we may direct if the Facility is outside the United States). The Royalty and System
Assessment Fees described in Section 7.1 arc payable three days alter the month in which they accruc.
without billing or demand. Other Recurring Fees are payable at the times sct forth in the System
Standards. Recurring Fecs include the following:

7.1.1 A “Royalty” equal to five and five-tenths percent (5.5%) of Gross Room Revenues of the
Facility accruing during the calendar month, accrucs from the carlicr of the Opening Datc or the date
you identify the Facility as a Chain Facility or operate it under a Mark until the end of the Term.

7.1.2 A “System Assessment Fee" as sct forth in Schedule C for advertising, marketing, training. the
Reservation System and other related services and programs, accrues from the Opening Date until the
end of the Term, including during reservation suspension periods. We may use the System
Assessment Fees we collect, in whole or in pari, to reimburse our reasonable dircct and indirect
costs, overhead or other expenses of providing markcting, training and reservation services. You
will also pay or reimburse us as described in Schedule C for “Additional Fees” such as commissions
we pay to travel and other agents for certain reservation and markcting serviccs to generate
rescrvations at the Facility plus a reasonable service fcc, fecs levied to pay for reservations for the

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Facility originated or processed through the Global Distribution System, the Chain Websites and/or
other reservation systems, distribution channels and networks, and fees for additional services and
programs. We may charge Facilities using the Reservation System outside the United States for
reservation service using a different formula. We may change, modify, add or delete the System
Assessment Fee and/or Additional Fees in accordance with Schedule C.

7.2 You will pay to us “Taxes” equal to any federal, state or local sales, gross receipts, use, value
added, excise or similar taxes assessed against us on the Recurring Fecs and basic charges by the
jurisdictions where the Facility is located, but not including any income tax, franchise or other similar
tax for the privilege of doing business by us in your State. You will pay Taxes to us when due.

7.3 “Interest” is payable when you receive our invoice on any past due amount payable to us under this
Agreement at the rate of 1.5% per month or the maximum rate permitted by applicable law, whichever
fs less, accruing from the due date until the amount is paid.

7.4 [fa transfer occurs, your transferee or you will pay us our then current Application Fee and a
“Relicense Fee” equal to the Initial Fee we would then charge # new franchisee for the Facility.

7.5 You will report and pay to us all Recurring Fees and other fecs and charges on-line via our
self-service Electronic Invoice Presentment and Payment too! (“WynPay”) accessible through our
Chain intranet. In the WynPay on-line environment, payments can be made either through the
electronic check payment channel or the credit card payment channel. We reserve the right to
change, from time to time, the technologies or other means for reporting and paying fces to us by
amending the System Standards Manual.

8. Indemnifications.

8.1 Independent of your obligation to procure and maintain insurance, you will indemnify, defend and
hold the Indemnitees harmiess, to the fullest extent permitted by law, from and against all Losses and
Expenses, incurred by any Indemnitec for any investigation, claim, action, suit, demand, administrative
or alternative dispute resolution proceeding, relating (o or arising out of any transaction, occurrence or
service at, or involving the operation of, the Facility, eny payment you make or fail to make to us, any
breach or violation of any contract or any law, regulation or ruling by, or any act, error or omission
(active or passive) of, you, any party associated or affiliated with you or any of the owners, officcrs,
directors, employees, agents or contractors of you or your affiliates, including when you arc alleged or
held to be the actual, apparent or ostensible agent of the Indemnitec, or the active or passive neplizence
of any Indemnitee is alleged or proven. You have no obligation to indemnify an Indemnitce for
damages to compensate for property damage or personal injury if a court of competent jurisdiction
makes a final decision not subject to further appeal that the Indemnitce engaged in willful misconduct
or intentionally caused such property damage or bodily injury. This exclusion from the obligation to
indemnify shall not, however, apply if the property damage or bodily injury resulted from the use of
reasonable force by the Indemnitee to protect persons or property.

8.2 You will respond promptly to any matter described in the preceding paragraph, and defend the
Indemnitee. You will reimburse the Indemnitee for all costs of defending the matter, including
reasonable attorneys’ fees, incurred by the Indemnitce if your insurer or you do nol assume defense of

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the indemnitee promptly when requested, or scparate counsel is appropriate, in our discretion, because
of actual or potential conflicts of interest. We must approve any resolution or course of action in a
matter that could directly or indirectly have any adverse effect on us or the Chain, or could serve as a
precedent for other matters.

8.3 We will indemnify, defend and hold you harmiess, to the fullest extent permitted by law, from and
against all Losses and Expenses incurred by you in any action or claim arising from your proper use of
the System alleging that your use of the System and any property we license to you is an infringement
of a third party’s rights to any trade secret, patent, copyright, trademark, service mark or trade name.
You will promptly notify us in writing when you become aware of any alleged infringement or an
action is filed against you. You will cooperate with our defense and resolution of the claim. We may
resolve the matter by obtaining a license of the property for you at our expense, or by requiring that
you discontinue using the infringing property or modify your use to avoid inftinging the rights of
others.

 

9.1 Transfer of the Facility. This Agreement is personal to you (and your owners if you are an
entity). We are relying on your experience, skill and financial resources (and that of your owners and
the guarantors, if any) to sign this Agreement with you. You may finance the Facility and grant a licn,
security interest or encumbrance on it (but not in this Agreement) without notice to us or our consent.
Ifa Transfer is to occur, the transferee or you must comply with Section 9.3. Your Franchise is subject
to termination when the Transfer occurs. The Franchise is not transferable to your transferee, who has
no right or authorization to use the System and the Marks when you transfer ownership or possession
of the Facility, The transferee may not operate the Facility under the System, and you are responsible
for performing the post-termination obligations in Section [3. You and your owners may, only with
our prior written consent and after you comply with Sections 9.3 and 9.6, assign, pledge, transfer,
delegate or grant a security interest in all or any of your rights, benefits and obligations under this
Agreement, as security or otherwise. Transactions involving Equity Interests that are not Equity
Transfers do not require our consent and are not Transfers,

9.2 Financing Documents. Neither you, nor any of your Equity Interest owners, shall represent in
any proposed financing arrangement to any proposed lender or participant in a private or public
investment offering that we or any of our affiliates are or shall be in any way responsible for your
obligations or financial projections, if any, set forth in such financing arrangement or investment
offering or that we or any of our affiliates are or shall be participating in such private or public
investment offering. In addition, any proposed financing arrangement where the scrvice mark “Days
Inn” appears, or a reference to this Agreement appears, shall contain a disclaimer in bold face type
substantially as follows: THE BORROWER IS A PARTY TO AN AGREEMENT WITH DAYS
INNS WORLDWIDE, INC. TO OPERATE HOTELS USING THE SERVICE MARK “DAYS
INN.” NEITHER DAYS INNS WORLDWIDE, INC. NOR ITS AFFILIATES OWN ANY
SUCH HOTELS OR ARE A PARTY TO THIS FINANCING AND HAVE NOT PROVIDED
OR REVIEWED, AND ARE NOT RESPONSIBLE FOR, ANY DISCLOSURES OR OTHER
INFORMATION SET FORTH HEREIN. Also, at Icast fiftcen (15) days prior to closing such
financing, you shall submit to us a written statement certifying that you have not misrepresented
or overstated your relationship with us and our affiliates or your rights to use the Marks.

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9.3 Conditions. We may condition and withhold our consent to a Transfer when required under this
Section 9 until the transferee and you meet certain conditions. If a Transfer is to occur, the transferce
(or you, ifan Equity Transfer is involved) must first complete and submit our Application, qualify to be
a franchisee in our sole discretion, given the circumstances of the proposed Transfer, provide the samc
supporting documents @s a new franchise applicant, pay the Application and Relicense Fecs then in
effect, sign the form of Franchise Agreement we then offer in conversion transactions and agree to
renovate the Facility as if it were an cxisting facility converting to the System, as we reasonably
determine. We will provide a Punch List of improvements we will require afler the transferee’s
Application is submitted to us. We may require structural changes to the Facility if it no longer
meets System Standards for entering conversion facilities, or in the alternative, condition our
approval of the Transfer on limiting the transferee’s term to the balance of your Term, or adding a
right to terminate without cause exercisable by cither party after a period of time has elapsed. Our
consent to the transaction will not be effective until these conditions are satisfied. If we do not approve
the Transfer, we may, in our sole discretion, allow you to terminate the Franchise when you sell the
Facility and pay us Liquidated Damages under Section |2.t-at the same rate as you would pay if
the termination occurred before the Opening Date. Such payment would be due and payable
when you transfer possession of the Facility. We must also reccive general releases from you and
each of your owners, and payment of all amounts then owed to us and our affiliates by you, your
owners, your affiliatcs, the transferee, its owners and affiliates, under this Agreement or otherwise. Our
consent to a transfer ts not a waiver of (i) any claims we may have against you; or (ii) our right to
demand strict compliance from the Transferee with the terms of its agreement.

9.4 Permitted Transferee Transactions. You may transfer an Equity Interest or effect an Equity
Transfer to a Permitted Transferee without obtaining our consent, renovating the Facility or paying a
Relicense Fee or Application Fee. No Transfer will be deemed to occur, You also must not be in
defauh and you must comply with the application and notice procedures specified in Sections 9.3 and
9.6. Each Permitted Transferee must first agree in writing to be bound by this Agreement, or at our
option, execute the Franchise Agreement form then offered prospective franchisees. No transfer to a
Permitted Transferce shall release a living transferor from liability under this Agreement or any
guarantor under any Guaranly of this Agreement. You must comply with this Scction if you transfer
the Facility to a Permitted Transferce. A transfer resulting from a death may occur even if you are in
default under this Agreement.

9.5 Attempted Transfers. Any transaction requiring our consent under this Section 9 in which our
consent is not first obtained will be void, as between you and us. You will continue to be liable for
payment and performance of your obligations under this Agreement until we terminate this Agreement,
all your financial obligations 1o us are paid and all System identification is removed from the Facility.

9.6 Notice of Transfers. You will give us at least 30 days prior written notice of any proposed
Transfer or Permitted Transferee transaction. You will notify us when you sign e contract to Transfer
the Facility and [0 days before you intend to closc on the transfer of the Facility. We will respond to
all requests for our consent and notices of Permitted Transferee transactions within a reasonable time
not to exceed 30 days. You will notily us in writing within 30 days afler a change in ownership of 25%
or more of your Equity Interests that arc not publicly held or that is not an Equity Transfer, or a change
in the ownership of the Facility if you arc not its owner. You will provide us with lists of the names,

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addresses, and ownership percentages of your owner(s) at our request.

10. Our Assignments. We may assign, delegate or subcontract all or any part of our rights and duties
under this Agreement, including by operation of law, without notice and without your consent. We
will have no obligations to you with respect to any assigned right or duty after you are notified that our
transferee has assumed such rights or duties under this Agreement except those that arose before we

assign this Agreement.

11, Default and Termination.

11.1 Default. In addition to the matters identified in Sections 3.1 and 3.6, you will be in default
under this Agreement if (a) you do not pay us when a payment is due under this Agreement or under
any other instrument, debi, agreement or account with us related to the Facility, (b) you' do not
perform any of your other obligations when this Agreement and the System Standards Manual require,
or (c) if you otherwise breach this Agreement. If your defauit is not cured within 10 days after you
receive written notice from us that you have not filed your monthly report, paid us any amount that is
due or breached your obligations regarding Confidential Information, or within 30 days after you
receive written notice from us of any other default (except as noted below), then we may terminate this
Agreement by written notice to you under Section 11.2. We will not exercise our right to terminate if
you have completely cured your default during the time allowed for cure, or until any waiting period
required by law has elapsed. In the case of a default resulting from the Facility’s failure to meet
Quality Standards as measured by a quality assurance inspection, if you have acted diligently to
cure the default but cannot do so, and the default does not relate to health or safety, we may, in
our discretion, enter into an improvement agreement with you provided you request such an
agreement within 30 days after receiving notice of the failing inspection, If we have entered into
an improvement agreement, you must cure the default within the time period specified in the
improvement agreement which shall not excecd ninety days after the failed inspection. We may
terminate this Agreement and any or all rights granted hereunder if you do not timely perform that
improvement agreement.

11.2 Termination, We may terminate this Agreement, effective when we send written notice to
you or such later date as required by law or as stated in the default noticc, when (1) you do not cure a
defauh as provided in Section 11.1 or we are authorized to terminate under Schedule D due to your
failure to perform your Improvement Obligation, (2) you discontinue operating the Facility as a “Days
Inn”, (3) you do or perform, directly or indirectly, any act or failure to act that in our reasonable
judgment is or could be injurious or prejudicial to the goodwill associated with the Marks or the
System, (4) you lose possession or the right to possession of the Facility, (5) you (or any guarantor)
suffer the termination of another license or franchise agreement with us or one of our affiliates, (6) you
intentionally maintain false books and records or submil a matcrially false report to us, (7) you (or any
guarantor) generally fail to pay debts as they come duc in the ordinary course of business, (8) you, any
guarantor or any of your owners or agents misstated to us or omitted to tcll us a material fact to obtain
or maintain this Agreement with us, (9) you receive two or morc notices of default from us in any one
year period (whether or not you cure the defaults), (10) a viclation of Section 9 occurs, or a Transfer
occurs before the relicensing process is completed, (11) you or any of your Equity Interest owners
contest in court the ownership or right to franchise or license all or any part of the System or the
validity of any of the Marks, (12) you, any guarantor or the Facility is subject to any voluntary or

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involuntary bankruptcy, liquidation, dissolution, reccivership, assignment, reorganization, moratorium,
composition or a similar action or proceeding that is not dismissed within 60 days after its filing, or
(13) you maintain or operate the Facility in a manner that endangers the health or safely of the
Facility’s guests,

113 Casualty and Condemnation.

11.3.1 You will notify us promptly after the Facility suffers a Casualty that prevents you from
operating in the normal course of business, with less than 75% of guest rooms available. You will give
us information on the availability of guest rooms and the Facility's ability to honor advance
reservations. You will tell us in writing within 60 days after the Casualty whether or not you will
restore, rebuild and refurbish the Facility to conform to System Standards and its condition prior to the
Casualty. This restoration will be completed within 180 days afler the Casualty. You may decide
within the 60 days after the Casualty, and if we do not hear from you, we will assume that you have
decided, 10 terminate this Agreement, effective as of the date of your notice or 60 days after the
Casualty, whichever comes first. If this Agreement so terminates, you will pay all amounts accrued
prior to termination and follow the post-termination requirements in Section 13. You will not be
obligated to pay Liquidated Damages if the Facility will no longer be used as an extended stay or
transient lodging facility after the Casualty, -

11.3.2 You will notify us in writing within 10 days after you reccive notice of any proposed

Condemnation of the Facility, and within 10 days after receiving notice of the Condemnation date. This i
Agreement will terminate on the date the Facility or a substantial portion is conveyed io or taken over
by the condemning authority but you will be liable for the Condemnation Payments set forth in Section
12.2,

(1.3.3, Any protected territory covenants will terminate when you give us nolice of any proposed |
Condemnation or that you will not restore the Facility afler a Casualty,

 

11.4 Our Other Remedies, We may suspend the Facility from the Reservation System for any
defauk or failure to pay or perform under this Agreement or any other written agreement with us
relating to the Facility, discontinuc reservation referrals to the Facility for the duration of such
suspension, and may divert previously made reservations to other Chain Facilities after giving notice of
non-performance, non-payment or default. All System Assessment Fees accrue during the suspension
period. Reservation scrvicc will be restored afler you have fully cured any and all defaults and failures
to pay and perform. We may charge you, and you must pay as a condition precedent to restoration
of reservation service, a Reconnection Fee specified on Schedule C to reimburse us for our costs
associated with scrvice suspension and restoration. We may deduct points under our quality
assurance inspection program for your failure to comply with this Agreement or System Standards.
We may omit the Facility from any paper or clectronic directory of Chain Facilities that we issue. We
may also suspend or terminate any temporary or other fec reductions we may have agreed to in this
Agreement and/or any stipulations in Section 18 below, and/or cease to provide any operational
support until you address any failure to perform under this Agreement. You agree that our exercise of
any rights in this Section will not constitute an actual or constructive termination of this Agreement.
All such remedies are curnulative and not in licu of any other rights or remedics we may have under this
Agreement. If we exercise our right not to terminate this Agreement but to implement such suspension

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and/or removal, we reserve the right at any time afler the appropriate cure period under the written
‘notice has lapsed, to, upon written notice to you, terminate this Agreement without giving you any
additional corrective or cure period (subject to applicable law). You recognize that any use of the
System not in accord with this Agreement will cause us irreparable harm for which there is no adequate
remedy at law, entitling us to injunctive and other relief, without the need for posting any bond. We
may litigate to collect amounts due under this Agreement without first issuing a defauit or termination
notice. Our consent or approval may be withheld if needed while you are in default under this
Agreement or may be conditioned on the cure of all your defaults, Once a termmation or expiration
date for this Agreement has been established in accordance with the provisions of this Agreement. we
may cease accepting reservations through the Reservation System for any person(s) secking to make a
reservation for a stay on any date including or following the termination or expiration of this

Agreement.
11.5 Your Remediics.

11.5.7 If we fail to issue our approval or conscnt as and when required under this Agreement within a
reasonable time of not less than 30 days after we reccive all of the information we request, and you
believe our refusal to approve or consent is wrongful, you may bring a legal action against us to
compel us to issuc our approval or consent to the obligation. To the extent permitted by applicable
law, this action shall be your exclusive remedy.

11.5.2 You (and your owners and guarantors) waive, to the fullest extent permitted by law, any right
to, or claim for, any punitive or cxemplary damages against us and against any affiliatcs, owners,
cmployces or agents of us, and agree that in the event of a dispute, you will be limited to the recovery
of any actual damages sustained and any cquitable relic! to which you might be entitled.

12, Liquidated Damages.

{2.1 Generally. [f we terminate the Franchise under Section 11.2, or you terminate this
Agreement (except under Section | 1.3 or as a result of our defauk which we do not cure within a
reasonable time after written notice), you will pay us Liquidated Damages within 30 days
following the date of Termination. If Termination occurs during the last two Franchise Years of
the Term, Liquidated Damages will be the Icsser of (i) the amount specified in Section 18.4, or (ii)
the average daily feces based on a percentage of Gross Room Revenues accruing under Scction 7. |
during the 12 full calendar months preceding the month in which Termination occurs multiplied by
the number of days remaining in the uncxpired Term (the “Ending Period") at the date of
Termination. You will also pay any applicable Taxcs asscssed on such payment. Before the last
two Franchise Years, Liquidated Damages will be as set forth in Section 18.4. If we terminate
this Agrecment before the Opening Date, you will pay us within !0 days after you receive our
notice of termination Liquidated Damages equal to one-half the amount payable after the Opening
Date. Liquidated Damages are paid in place of our claims for lost future Recurring Fees under
this Agreement. Our right to receive other amounts duc under this Agreement is not affected.

12.2. Condemnation Payments. In the event a Condemnation is to occur, you will pay us the feces
set forth in Section 7 for a period of one ycar aller we receive the initial notice of condemnation
described in Section | 1.3.2, or until the Condemnation occurs, whichever is longer. You will pay us

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Liquidated Damages equal to the average daily Royalties and System Assessment Fees for the onc ycar
period ‘Preceding the date of your condemnation notice to us multiplied by the number of days
remaining in the one year notice period if the Condemnation is completed before the one ycar notice
period expires. This payment will be made within 30 days after Condemnation is completed (when you
close the Facility or you deliver it to the condemning authority). You will pay no Liquidated Damages
if the Condemnation is completed after the one year notice period expires, but you must pay the fees
set forth in Section 7 when due until Condemnation is completed,

13. Your Duties Atand After Termination. When a Termination occurs for any ccason whatsoever:

13.1 System Usage Ceases, You must comply with the following “de-identification” obligations.
You will immediately stop using the System to operate and identify the Facility. You will remove all
signage and other items bearing any Marks and follow the other steps detailed in the System Standards
Manual or other brand directives for changing the identification of the Facility. You will promptly
paint over or remove the Facility’s distinctive System trade dress, color schemes and architectural
features. You shall not identify the Facility with a confusingly similar mark or name. or use the same
colors as the System trade dress for signage, printed materials and painted surfaces. You will ccase all
Internet marketing using any Marks to identify the Facility. If you do not strictly comply with all of the
de-identification requirements above, in the System Standards Manual and in our other brand
directives, you agree to pay us a royalty equal to $2,000 per day until de-identification is completed to
our satisfaction.

13.2 Other Duties. You will pay all amounts owed to us under this Agreement within 10 days afler
termination. We may immediately remove the Facility from the Reservation System and divert
reservations as authorized in Section 11.4. We may notify third parties that the Facility is no longer
associated with the Chain, We may also, to the extent permitted by applicable law, and without prior
notice enter the Facility and any other parcels, remove soflware (including archive and back-up copies)
for accessing the Rescrvation System, all copies of the System Standards Manual, Confidential
Information, cquipment and all other personal property of ours. If you have not completed your de-
identification obligations to our satisfaction, we may paint over or remove and purchase for $10.00, all
or part of any interior or exterior Mark-bearing signage (or signage face plates), including billboards,
whether or not located at the Facility, that you have not removed or oblitcrated within five days afer
termination. You will promptly pay or reimburse us for our cost of removing such items, net of the
$10.00 purchase price for signage. We will exercise reasonable care in removing or painting over
signage, We will have no obligation or liability to restore the Facility to its condition prior to removing
the signage. We shall have the right, but not the obligation, to purchase some or all of the Facility’s
Mark-bearing FF&E and supplies at the lower of their cost or nct book value, with the right to set off
their aggrepate purchase price against any sums then owed us by you. You will transfer to us any
domain names you own that include any material portion of the Marks.

13.3. Reservations. The Facility will honor any advance reservations, including group bookings,
made for the Facility prior to termination at the rates and on the tcrms established when the
reservations are made and pay when due all related travel agent commissions. You acknowledge and
agrec that once a termination or expiration date for this Agreement has been established in accordance
with the provisions of this Agreement, we may stop accepting reservations through the Reservation
System for any person(s) seeking to make a reservation for a slay on any date on or afer the

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termination or expiration of this Agreement. In addition, when this Agreement terminates or expires
for any reason, we have the right to contact those individuals or entities who have reserved rooms with
you through the CRS to inform them that your lodging facility is no longer part of the System. We
further have the right to inform those guests of other facilities within the System that are near your
Facility in the event that the guests prefer to change their reservations. You agree that the exercise of
our rights under this Section will not constitute an interference with your contractual or business
relationship.

13.4 Survival of Certain Provisions. Scctions 3.6 (as to audits, for 2 years after termination), the
first two sentences of 3.11, 7 (as to amounts accruing through termination), 8, 11.3.2, 11.4, 12, 13, 15,
16 and 17 survive termination of this Agreement. Additionally, all covenants, obligations and
agreements of yours which by their terms or by implication are to be performed afler the
termination or expiration of the Tcrm, shall survive such termination or expiration.

14. Your Representations and Warranties. You expressly represent and warrant to us as follows:

14.1 Quiet Enjoyment and Financing. You owa, or will own prior to commencing improvement,
or lease, the Location and the Facility. You will be entitled to possession of the Location and the
Facility during the entire Term without restrictions that would interfere with your performance under
this Agreement, subject to the reasonable requircments of any financing secured by the Facility. You
have, when you sign this Agreement, and will maintain during the Term, adequate financial liquidity
and financial resources to perform your obligations under this Agreement,

14.2. This Transaction. You and the persons signing this Agreement for you have full power and
authority and have been duly authorized, to enter into and perform or cause performance of your
obligations under this Agreement. You have obtained all necessary approvals of your owners, Board
of Directors and lenders. No executory franchise, license or affiliation agreement for the Facility exists
other than this Agreement. Your execution, delivery and performance of this Agreement will not
violate, create a default under or breach of any charter, bylaws, agreement or other contract, license.
permit, indebtedness, certificate, order, decree or security instrument to which you or any of your
principal owners is a party or is subject or to which the Facility is subject. Neither you nor the Facility is
the subject of any current or pending merger, sale, dissolution, receivership, bankruptcy, foreclosure,
reorganization, insolvency, or similar action or proceeding on the date you exccute this Agreement and
was not within the three years preceding such date, except as disclosed in the Application. You will
submit to us the documents about the Facility, you, your owners and your finances that we request in
the Franchise Application (or after our review of your initial submissions) before or within 30 days after
you sign this Agreement. You represent and warrant to us that the information you provided in your
Application is truc, correct and accurate. To the best of your knowledge, neither you, your owners (if
you are an entity), your officers, directors or employees or anyone else affiliated or associated with
you, whether by common ownership, by contract, or otherwise, has becn designated as, or is, a
terrorist, a “Specially Designated National” or a “Blocked Person” under U.S. Executive Order 13224,
in lists published by the U.S. Department of the Treasury's Office of Foreign Assets Control, or

otherwise.

14.3 No Misrepresentations or implied Covenants. All written information you submit to us
about the Facility, you, your owners, any guarantor, or the finances of any such person or entity, was

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or will be at the time delivered and when you sign this Agreement, true, accurate and complete, and
such information contains no misrepresentation of a material fact, and does not omit any material fact
necessary to make the information disclosed not misleading under the circumstances, There arc no
express or implicd covenants or warranties, oral or written, between we and you except as expressly
stated in this Agreement.

15. Proprictary Rights.

[5.1 Marks and System. You will no1 acquire any interest in or right to use the System or Marks
except under this Agreement. You will not apply for governmental registration of the Marks, or usc
the Marks or our corporate name in your Icgal name, but you may use a Mark for an assumed business
or trade name filing. You agree to (i) execute any documents we request to obtain or maintain
Protection for the Marks; (ii) use the Marks only in connection with the operation of the Facility as
permitted by the System Standards; and (ii) that your unauthorized use of the Marks shall constitute
both an inftingement of our rights and a material breach of your obligations under this Agreement.

15.2 Inurements. All present and future distinguishing characteristics, improvements and additions
to or associated with the System by us, you or others, and all present and future service marks,
trademarks, copyrights, service mark and trademark registrations uscd and to be used as part of the
System, and the associated good will, shall be our property and will inure to our benefit. No good will
shall attach to any sccondary designator that you use.

15.3 Other Locations and Systems, We and our affiliates cach reserve the right to own, in whole
or in part, and manage, opcrate, use, lease, finance, sublease, franchise, licensc (as franchisor or
franchisee), provide services to or joint venture (i) distinctive separate lodging or food and beverage
marks and other intclicctual property which are not part of the System, and to enter into separate
agreements with you or others (for scparate charges) for use of any such other marks or proprictary
rights, (ii) other lodging, food and beverage facilities, or businesses, under the System utilizing
modificd System Standards, and (iii) a Chain Facility at or for any location outside the Protected
Territory. You acknowledge that we are affiliatcd with or in the future may become affiliated with
other lodging providers or franchise systems that opcrate under names or marks other than the Marks.
We and our affiliatcs may use or benefit from common hardware, sofiware, communications equipment
and services and administrative systems for rescrvations, franchise application procedures or
committces, marketing and advertising programs, personnel, central purchasing, approved supplicr
lists, franchise sales personnel (or independent franchise sales representatives), ctc.

15.4 Confidential Information, You will take all appropriate actions to preserve the
confidentiality of all Confidential Information. Acccss to Confidential Information should be limited to
persons who need the Confidential Information to perform their jobs and are subject to your general
policy on maintaining confidentiality as a condition of employment or who have first signed a
confidentiality agreement. You will not permit copying of Confidential Information (including, as to
computer software, any translation, decompiling, decoding, modification or other alteration of the
source code of such software). You will usc Confidential Information only for the Facility and to
perform under this Agreement. Upon termination (or carlier, as we may request), you shall retum to us
all originals and copies of the System Standards Manual, policy statements and Confidential
Information “fixed in any tangible medium of expression,” within the meaning of the U.S. Copyright

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Act, as amended. Your obligations under this subsection commence when you sign this Agreement
and continue for trade secrets (including computer soflware we license to you) as long as they remain
secret and for other Confidential Information, for as long as we continue to use the information in
confidence, even if edited or revised, plus three years. We will respond promptly and in good faith to
your inquiry about continucd protection of any Confidential Information.

15.5 Litigation. You will promptly notify us of (i) any adverse or infringing uses of the Marks (or
names or symbols confusingly similar), Confidential Information or other System intellectual property,
and (ii) or any threatened or pending litigation related to the System against (or naming as a party) you
or us of which you become aware, We alone will handle disputes with third parlics conceming use of
all or any part of the System. You will cooperate with our efforts to resolve these disputes. We need
not initiate suit against imitators or infringers who do not have a matcrial adverse impact on the
Facility, or any other suit or proceeding 1o enforce or protect the Sysicm in a matter we do not believe
to be material.

15.6 The Internet and other Distribution Channels, You may use the Internet to market the
Facility subject to this Agreement and System Standards. You shall not use, license or register
any domain name, universal resource locator, or other means of identifying you or the Facility that
uses a mark or any image or language confusingly similar to a Mark except as otherwise expressly
permitted by the System Standards Manual or with our written consent. You will assign to us any
such identification at our request withoul compensation or consideration. You may not purchase
any key words for paid scarch or other electronic marketing that utilizes any Mark without our
written consent. You must make available through the Reservation System and the Chain
Website all rates you offer directly to the gencral public or indirectly via Internet marketing
arrangements with third parties. You agrec to participate in our Central Commission Payment
Program and to reimburse us for any {ces or commissions we pay to intermediarics and retailers
on your behalf or for Chain Facilitics 10 participate in their programs. You must participate in the
Chain’s best available raic on the Internet guarantee or successor program. The content you
provide us or use yoursclf for any Internct or distribution marketing materials must be true,
correct and accurate, and you will notify us in writing promptly when any correction to the
content becomes necessary. You shall promptly modify at our request the content of any Internet
or distribution marketing materials for the Facility you usc, authorize, display or provide to
conform to System Standards. Any usc of the Marks and other clements of the System on the
Internet inurcs to our benefit under Section 15.2.

16, Relationship of Parties.

16.1 Independence. You are an independent contractor. You are not our legal representative or
agent, and you have no power to obligate us for any purpose whatsocver. We and you havc a business
relationship based entirely on and circumscribed by this Agreement. No partnership, joint venture,
agency, fiduciary or employment relationship is intended or created by reason of this Agreement. You
will exercise full and complete control over and have full responsibility for your contracts, daily
operations, labor relations, cmployment practices and policics, including, but not limited to, the
recruitment. selection, hiring, disciplining, firing. compensation, work rules and schedules of your

employces.

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16.2 Joint Status. If you comprise two or more persons or entitics (notwithstanding any
agreement, arrangement or understanding between or among such persons or entitics) the rights,
privileges and benefits of this Agreement may only be excrcised and cnjoyed jointly. ‘The liabilities and
responsibilitics under this Agreement will be the joint and several obligations of all such persons or
entitics.

17, Legal Matters,

17.1 Partial Invalidity. If all or any part of a provision of this Agreement violatcs the law of
your state (if it applies), such provision or part will not be given effect. If all or any part of a
provision of this Agrecment is declared invalid or unenforceable, for any reason. or is not given
effect by reason of the prior sentence, the remainder of the Agrcement shall not be affected,
However, if in our judgment the invalidity or incffectiveness of such provision or part substantially
impairs the value of this Agreement to us, then we may al any time terminate this Agreement by
written notice to you without penalty or compensation owed by either party.

17.2 Waivers, Modifications and Approvals. If we allow you to deviate from this
Agreement, we may insist on strict compliance at any time after written notice. Our silence or
inaction will not be or cstablish a waiver, consent, coursc of dealing, implied modification or
estoppel. All modifications, waivers, approvals and consents of or under this Agreement by us
must be in writing and signed by our authorized ecpresentative to be effective. We may
unilaterally revise Schedule C when this Agreement so permits.

17.3. Notices. Notices will be effective if in writing and delivered (i) by facsimile transmission
with confirmation original sent by first class mail, postage prepaid, (ii) by delivery service, with
proof of delivery, (iii) by first class, prepaid certified or registered mail, return receipt requested,
(iv) by electronic mail, posting of the notice on our Chain intranet sitc or by a similar technology;
or (v) by such other means us to result in actual or constructive receipt by the person or office
holder designated below, to the appropriate party at its address stated below or as it may
otherwise designated by notice. You consent to receive clectronic mail from us. Notices shall be
deemed piven on the date delivered or date of attempted delivery, if refused.

Days Inns Worldwide, Inc.:
Our address: 22 Sylvan Way, Parsippany, New Jersey 07054-0278
Altention: Senior Vice President - Contracts Administration; Fax No. (973) 753-7254

Your name: Kingston PA LLC
Your address: 150 Hotel Heights Cicarfield, PA 16830

Attention: Ajay Patel
Your fax No.: 814-765-244]
Your e-mail address:

17.4 Remedies. Remedies specified in this Agreement are cumulative and do not exclude any
remedics available at law or in equity. The non-prevailing party will pay all costs and expenses,
including reasonable attorneys’ fecs, incurred by the prevailing party to enforce this Agreement or
collect amounts owed under this Agreement.

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17.5 Miscellaneous. This Agreement is exclusively for the benefit of the parties. There are no
third party beneficiaries, No agreement between us and anyone else is for your benefit. The
section headings in this Agreement are for convenience of reference only.

17.6 Choice of Law; Venue; Dispute Resolution,

17.6.1 This Agreement will be governed by and construed under the laws of the State of New
Jersey, except for its conflicts of law principles. The New Jersey Franchise Practices Act will not
apply to any Facility located outside the State of New Jersey.

17.6.2 The parties shall attempt in good faith to resolve any dispute concerning this Agreement
or the parties’ relationship promptly through negotiation between authorized representatives, if
these efforts are not successful, either party may attempt to resolve the dispute through non-
binding mediation. Either party may request mediation through the National Franchise Mediation
Program, using the procedures employed by the CPR Institute for Dispute Resolution, Inc. We
will provide you with the contact address for that organization. ‘Ihe mediation will be conducted
by a mutually acceptable and neutral third party. Ifthe parties cannot resolve the dispute through
negotiation or mediation, or choose not to negotiate or mediate, cither party may pursuc
litigation.

7.6.3 You consent and waive your objection to the non-exclusive personal jurisdiction of and
venue in the New Jersey state courts situated in Morris County, New Jersey and the United States
District Court for the District of New Jersey for all cases and controversies under this Agreement
or between we and you,

17.6.4 WAIVER OF JURY TRIAL. THE PARTIES WAIVE THE RIGHT TO A JURY
TRIAL IN ANY ACTION RELATED TO THIS AGREEMENT OR THE
RELATIONSHIP BETWEEN THE FRANCHISOR, THE FRANCHISEE, ANY
GUARANTOR, AND THEIR RESPECTIVE SUCCESSORS AND ASSIGNS.

17.6.5 Any judicial proceeding dircctly or indirectly arising from or relating to this Agreement
shall be considered unique as to ils facts and may not be brought as a class action. You and each
of the owners of your Equity Interests waive any right to proceed against us by way of class

action.

17.7. Special Acknowledgments. You acknowledge the following statements to be truc
and correct as of the date you sign this Agreement, and to be binding on you.

17.7.1 You have read our disclosure document for prospective franchisces (“FDD") and
independently evaluated and investigated the risks of investing in the hotel industry
generally and purchasing this franchise specifically, including such factors as current and
potential market conditions, owning a franchise and various competitive factors.

17.7.2 You have received our FDD at least 14 days before signing this Agreement or paying
any fee to us,

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17.7.3 Neither we nor any person acting on our behalf has made any oral or written
representation or promise to you on which you are relying to enter into this Agreement that
is not written in this Agreement or in the FDD. You release any claim against us or our
agents based on any oral or written representation or promise not stated in this Agreement
or in the FDD.

17.7.4 This Agreement, together with the exhibits and schedules attached, is the entire
agreement superseding all previous oral and written representations, agreements and
understandings of the parties about the Facility and the Franchise other than the
representations set forth in the FDD.

17.7.5 You acknowledge that no salesperson has made any promise or provided any
information to you about actual or projected sales, revyenucs, income, profits or expenses
from the Facility except as stated in Item 19 of the FDD or in a writing that is attached to
this Agreement and signed by us.

17.7.6 You understand that the franchise relationship is an arms’ length, commercial
business relationship in which cach party acts in its own interest.

17.8 Force Majeure. Neither you nor we shall be liable for loss or damage or deemed to be in
breach of this Agreement if the failure to perform obligations results from: (a) windstorms, rains,
floods, earthquakes, typhoons, mudslides or other similar natural causcs; (b) fires, strikes, embargocs,
war, acts of terrorism or riot; (c) legal restrictions that prohibit or prevent performance; or (d) any
other similar event or cause beyond the control of the party affected. Any delay resulting from any of
such causes shall extend performance accordingly or excuse performance, in whole or in part, as may
be reasonable, so long as a remedy is continuously and diligently sought by the affected party, except
that no such cause shall excuse payment of amounts owed at the time of such occurrence or payment
of Recurring Fees and other amounts due to us subsequent to such occurrence other than a
governmental or judicial order prohibiting such payments.

17.9 No Right to Offset. You acknowledge and agree that you will not withhold or offsct any
liquidated or unliquidated amounts, damages or other monies allegedly due you by us against any
Recurring Fees or any other fecs due us under this Agreement.

18. !_ Stipulations. The following special stipulalions apply to this Agreement and
supersede any inconsistent or conflicting provisions. You acknowledge that these stipulations and any
changes made to the body of the Agreement at your request or in response to other changes to our
form agreement are the product of arms’ length negotiations wilh us and represent mutually agreed,
material inducements to cnicr into this Agreement, beneficial to you and supported by adequate
consideration from both partics. These are personal to you and are nol transferable or assignable
except to a Permitted Transferce.

18.1. Combined Fees, Notwithstanding Scction 7.1, you will pay a Combined Fee consisting of the
Royalty and System Assessment Fee at the rates set forth in this Section. The Combined Fee excludes
commissions and related service charges, guest complaint asscssments, Internet and GDS Feces, the

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Loyalty Program Charge and other similar fees and charges described on Schedule C which must be
paid as stated in this Agreement.

18.1.1 The Combined Fee shall be six and three tenths percent (6.3%) of Gross Room Revenues
accruing during the First Franchise Year; and

18.1.2 The Combined Fee shall be seven and three tenths percent (7.3%) of Gross Room Revenues
accruing during the Second Franchise Year; and

18.1.3. The Combined Fee shall be cight and three tenths percent (8.3%) of Gross Room Revenues
accruing during the Third Franchise Ycar; and

18.1.4 The Royalty and System Assessment ces shall be computed and paid at the rates specified in
Section 7.1 on Gross Room Revenues accruing afler the THIRD Franchise Year.

18.1.5 The rate changes sct forth in this Section automatically terminate without notice or opportunity
to cure, and the Royalty and System Assessment Fees shall reset to the ratcs specified in Section 7, if
and as of the date (7) a Termination occurs, or we send you a notice of default and you fail to cure the
default within the time specified, if any, in the notice of default, or (ii) after you satisfy the
Improvement Obligation, the Facility reccives a quality assurance inspection score of less than 80% (or
its then equivalent) and the Facility fails to achieve a quality assurance inspection score of more than
80% ina rec-inspection to be performed not less than 60 days afler the initial inspection.

18.2 Your Additional Termination Right. You may terminate this Agreement without cause or
penalty effective only on the SEVENTH OR TENTH anniversary of the Opening Date provided you
give us at [cast six (6) months prior written notice of termination and you arc not in default under this
Agreement at the time notice must be given or at the effective date of termination. You will pay no
Liquidated Damages if you satisfy the conditions of the preceding sentence and you perform the post
termination obligations specified in this Agreement within 10 days afler the effective date of
termination. Your cights under this Section will automatically terminate without notice if and as of the
date (i) a Termination occurs, (il) you fail to cure any default under this Agrecment within the time
permitied, if any, in the notice of default we send you, or (iii) after the Facility satisfics the
Improvement Obligation, the Facilxy scores less than 80% (or its then cquivalent) on a quality
assurance inspection and then fails to achieve a score more than 80% (or its then cquivalent) in a
reinspection (o be performed no sooner than 90 days afler the initial inspection. You will not exercise
this right if the Factiny is then financed under a program in which the United States Small Business
Administration (“SBA”) guarantees the financing or its repayment unless vou first obtain SBA's
consent.

18,3 Our Additional Termination Right. We may terminate this Agrcement without cause or
penalty cffective only on the SEVENTH OR TENTH anniversary of the Opening Date provided we
give you at least six (6) months prior written notice of termination. You will perform the post
termination obligations spccified in this Agrecment within 10 days after the effective date of
termination. You will pay no Liquidated Damages if we terminate the License under this Section and
you perform the post termination obligations specified in this Agreement within 10 days after the
eflective datc of termination. We will not excrcise this right if you notify us that the Facility is then

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financed under a program in which the United States Small Business Administration (“SBA")
guarantees the financing or its repayment unless we first obtain SBA’s consent.

18.4 Liquidated Damages. Liquidated Damages payable under Section 12.1 for a Termination that
occurs before the last two Franchise Years will be One Thousand Dollars ($1,000.00) for each guest
room of the Facility you are authorized to operate at the time of Termination.

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18.5 Prior Affiliation. Nowithstanding anything wu the contrary, you agree Hun, prior tc the
Opening Date, which will be die later to accu: uf (7) 90 duys alter the Efcetive Date. ar (its
Febrwy 28, 2016, the date you have indicated is the date you cease eperitivd 35 putt of snvtler
hotel vhain. sau will pnevide us with a sopy of the written iwrminatio: notice ar uther Written
evidence salisiactory ww ous in our sale discretion that any prior hotel affitiation has ternianted
betore we will cuuse the Opening Deve to oceur. We may. in our sole discnvtion. wenninate this
Ajpeeimeat by giving werilten milice in yaa iscdject te upplicehic Inw) if yeu do not provide
satislcton shoo! af waminutiog af the prive hutel a@tictiun prigs to dhe Cpeniag Date,

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Ye. woh grow) Cv t6C_

as LACM
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[SIGNATURES FOLLOW ON NEXT PAGE]

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IN WITNESS WHEREOF, the partics have executed this Agreement on this 8 day of
20 || f. and agree to be bound by the terms and conditions of this Agreement as
of the Effective Date.

WE:
DAYS INNS WORLDWIDE, INC.

AK

Michacl Piccola, SVP

YOU, as franchisee:
KINGSTON PA, LLC

By: ods

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PPEND
DEFINITIONS

Agreement means this Franchise Agreement.
Application Fee means the fee you pay when you submit your Application under Section 6.

Approved Plans means your plans and specifications for constructing or improving the Facility initially
or after opcning, es approved by us under Schedule D.

Casualty means destruction or significant damage to the Facility by act of God or other event beyond
your reasonable anticipation and control

Chain means the network of Chain Facilities.

Chain Fecility means a lodging facility we own, lease, manage, operate or authorize another party to
operate using the System and identified by the Marks.

Chain Websites means any current or future consumer or business websites, mobile websites or mobile
applications that we or our affiliates develop for booking reservations for and/or providing information
about Chain Facilities, and any future equivalent technology.

Condemnation means the taking of the Facility for public use by a government or public agency legally
authorized to do so, permanently or temporarily, or the taking of such a substantial portion of the
Facility that continued operation in accordance with the System Standards, or with adequate parking
facilities, is commercially impractical, or if the Facility or a substantial portion ts sold to the
condemning authority in lieu of condemnation.

Conference Fee means the fee we charge for your atlendance at a conference for Chain Facilities and
their franchisees when and if held.

Confidential Information means any trade secrets we own or protcet and other proprietary information
not generally known to the lodging industry including confidential portions of the System Standards
Manual or information we otherwise impart to you and your representatives in confidence.
Confidential Information inchides all other system standards manuals and documentation, including
those on the subjects of employee relations, finance and administration, ficld operation, purchasing and
marketing, the property management system soflware and other applications sofiware.

Desion Standards mean standards specified in the System Standards Manual from time to time for
design, construction, renovation, modification and improvement of new or existing Chain Facilitics,
including all aspects of facility design, number of rooms, rooms mix and configuration, construction
materials, workmanship, finishes, electrical, mechanical, structural, plumbing, HVAC, utilities, access,
life safety, parking, systems, landscaping, amenities, interior design and decor and the like for a Chain
Facility.

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Directory means any general purpose directory we issue, whether printed, web-based, or issucd in
another medium, which may list the names and addresses of Chain Facilities in the United States, and at
our discretion, other System facilitics located outside the United States, Canada and Mexico.

Effective Date mcans the date we insert in the Preamble of this Agreement aller we sign it.

Equity Interests shall include, without limitation, all forms of equity ownership of you, including voting
stock interests, partnership intercsts, limited liability company membership or ownership interests, joint
and tenancy intcrests, the proprictorship interest, trust beneficiary interests and all options, warrants,
and instruments convertibic into such other cquily interests.

Equity Transfer means any transaction in which your owners or you sell, assign, transfer, convey,
pledge, or suffer or permit the transfer or assignment of, any percentage of your Equity Interests that
will result in a change in control of you to persons other than those owners disclosed on Schedule B, as
in effect prior to the transaction. Unless there are contractual modifications to your owners’ rights, an
Equity Transfer of a corporation or limited liability company occurs when cither majority voting rights
or beneficial ownership of more than 50% of the Equity Interests changes. An Equity Transfer of a
partnership occurs when a newly admitted partner will be the managing, sole or controlling general
partner, directly or indirectly through a change in control of the Equity Interests of an entity general
partner. An Equity Transfer ofa trust occurs when cither a new trustee with sole investment power is
substituted for an existing trustee, or a majority of the beneficiarics convey their beneficial inicrests to
persons other than the beneficiarics existing on the Effective Date, An Equity Transfer docs not occur
when the Equity Interest ownership among the owncrs of Equity Interests on the Effective Date
changes without the admission of new Equity Intcrest owners. An Equity Transfer occurs when you
merge, consolidate or issue additional Equity Interests in a transaction which would have the effect of
diluting the voting rights or beneficial ownership of your owners’ combined Equity Interests in the
surviving entity to less than a majorily.

Facility means the Location, together with all improvements, buildings, common areas, structures,
appurtenances, facilities, entry/exit rights, parking,.amenities, FF&E and related rights, privileges and
properties existing or to be constructed at the Location on or after the Effective Datc,

EE&E means furniture, fixtures and cquipment.

EE&E Standards means standards spccificd in the System Standards Manual for FF&E and supplies to
be utilized in a Chain Facility.

Food and Beverage means any restaurant, catcring, bar/lounge, entertainment, room service, retail food
or beverage operation, continental breakfast, food or beverage concessions and similar services offered

at the Facility.

Franchise means the non-exclusive franchise to operate the type of Chain Facility described in Schedule
B only at the Location, using the System and the Mark we designate in Scction 1,

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Eranchise Year means:

(i) Ff the Qpening Date occurs on the first day af a month: the period beginning on the
Opening Date and ending on the day immediately preceding the first anniversary of the Opening Date.
and each subsequent one ycar period; or

(ii) {f the Opening Date does not occur on the first day of a month: the period beginning
on the Opening Date and ending on the first anniversary of the last day of the month in which the
Opening Date occurs, and cach subsequent one ycar period.

Gross Room Revenues means gross revenucs attributable to or payable for rentals of gucst (sicepiny)
rooms al the Facility, including all credit transactions, whether or not collected, guaranteed no-show
revenue net of chargebacks from credit card issuers, and any proceeds from any business
interruption or similar insurance applicable to the loss of revenues duc to the non-availability of
guest rooms. Excluded from Gross Room Revenues are separate charges to gucsis for Food and
Beverage, room service, telephone charges, key forfeitures and entertainment (including Internct fees
and commissions); vending machine receipts; and federal, state and local sales, occupancy and use
taxes:

Guest Information means any names, email addresses, phone numbers, mailing addresses and other
information about guests and customers of the Facility, including without limitation stay
information, that cither you or we or a person acting on behalf of you. us, or both you and us,
reccives from or on behalf of the other or any guest or customer of the Facility or any other third

party.

Improvement Obligation means your obligation to cither (i) renovate and upgrade the Facility, or (ii)
consiruct and complete the Facility, in accordance with the Approved Plans and Sysicm Standards, as
described in Schedule D.

Indemnitecs means us, our direct and indirect parent, subsidiary and sister corporations, and the
respective officers, directors, sharcholders, employees, agents and contraciors, and the successors,
assigns, personal representatives, heirs and Icgatecs of all such persons or entities,

Initial Fee means the fee you are to pay for signing this Agreement as stated in Section 6, if the
Agreement is for a new construction or conversion franchise.

Liquidated Damaves means the amounts payable under Section 12. sct by the partics because actual
damages will be difficult or impossible to ascertain on the Effective Date and the amount is a
reasonable pre-estimate of the damages that will be incurred and is not a penalty.

Location means the parcel of land situated at 150 Hotel tHeig rf i . as more filly
described in Schedule A.

Losses and Expenses mcans (x) all payments or obligations to make payments cither (i) to or for
third party claimants by any and all Indemnitecs, including guest refunds, or (ii) incurred by any

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and al! Indemnitees to investigate, respond to or defend a matter, including without limitation
investigation and trial charges, costs and expenses, attorncys’ fees, experts’ fees, court costs,
settlement amounts, judgments and costs of collection; and (y) the “Returned Check Fee” we then
specify in the System Standards Manual ($20.00 on the Effective Datc) if the drawee dishonors
any check that you submit fo us.

Mainicnance Standards means the standards specified from time to time in the System Standards
Manual for repair, refurbishment and replacement of FF&E, finishes, decor, and other capital items and
design materials in Chain Facilities.

Marks means, collectively (i) the service marks associated with the System published in the System
Standards Manual from time to time including, but not limited to, the name, design and logo for “Days
Inn” and other marks (U.S. Reg. Nos.: 1,160,430; 1,160,431; 1,420,612; 1,469,518; and 1,003,834)
and (ii) trademarks, trade names, trade dress, logos and derivations, and associated good will and

related intellectual property interests.

Marks Standerds means standards specified in the System Standards Manual for interior and exterior
Mark-bearing signage, advertising matcrials, china, linens, utensils, glassware, uniforms, stationery,
supplics. and other items, and the use of such items at the Facility or elsewhere.

Minor Renovation means the repairs, refurbishing, repainting, and other redecorating of the interior,
exterior, guest rooms, public areas and grounds of the Facility and replacements of FF&E we may
require you to perform under Section 3.14.

Minor Renovation Ceiling Amount means $3,000.00 per guest room.

Minor Renoyation Notice means the writicn notice from us to you specifying the Minor Renovation to
be performed and the dates for commencement and completion given under Section 3.14.

Opening Date has the meaning specified in Schedule D.

Operations Standards means standards spccified in the System Standards Manual for cleanlincss,
housekeeping, gencral maintenance, repairs, concession types, food and beverage service. vending
machines, uniforms, staffing, employee training, guest services, guest comfort and other aspects of
lodging opcrations.

Permitted Transferce means (i) any entity, natural person(s) or trust receiving from the personal
representative of an owner any or all of the owner's Equity [ntcrests upon the death of the owner, ifno
consideration is paid by the transferee or (ii) the spouse or adult issue of the transferor, if the Equity
Interest transfer is accomplished without consideration or payment, or (iii) any natural person or trusi
receiving an Equity Interest if the transfer is from a guardian or conservator appointed for an
incapacitated or incompetent transfcror.

Prototype Plans has the meaning specified in Schedule D for New Construction Facilities.

Punch List means the list of upgrades and improvements attached as part of Schedule D, which you arc

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required to complete under Section 3.! and Schedule D,

Reconnection Fee means the fec you pay us when we suspend Central Reservation System service
because you default under this Agrecment or for any other reason, in the amount spccified in
Schedule C.

Recurring Fees means fees paid to us on a periodic basis, including without limitation, Royaltics,
System Assessment Fees, and other reservation fees and charges as statcd in Section 7.

Relicense Fee means the fee your transferee pays to us when a Transfer occurs or the Ice you pay to us
if you are renewing an existing franchise.

Reinspection Fee means the fec you must pay to us under Section 3.7 if you do not complete your
Punch List on time, fail any inspection or do not cooperate with our inspector or inspection

System Standards.

Reservation System or “Central Reservation System” means the back end technology platform and
applications used by us to acecpt, store and/or communicate reservations for Chain Facilitics, ‘The
Reservation System is scparate from, but enables, the booking of reservations for Chain Facilities
through various distribution channels such as the Chain Websites, the GDS and other distribution
channels.

Rooms Addition Fee means the fec we charge you for adding pucst rooms to the Facility.

Royalty means the monthly fee you pay to us for use of the System under Section 7(a). “Royaltics”
means the egpregate of all amounts owed as a Royalty.

System means the comprehensive system for providing gucst lodging facility services under the Merks
as we specify which at present inchides only the following: (a) the Marks; (b) other intellectual
property, including Confidential Information, System Standards Manual and know-how; (c) marketing,
advertising, publicity and other promotional matcrials and programs; (d) System Standards; (e) training
programs and matcrials; (f} quality assurance inspection and scoring programs; and (z) the Rescrvation
System.

Sysicm Assessment Fees means the fees you pay to us under Section 7 and Schedule C for marketing.
advertising, training, the Reservation System and other services.

System Standards means the standards for participating in the System published in the System
Standards Manual or elsewhere, including but not limited to design standards, FF&E standards, Marks
standards, marketing standards, operations standards, technology standards and maintenance standards
and any other standards, policics, rules and proccdures we promulgate about System operation and
usage.

System Standards Manual means the Standards of Operation and Design Manual and any other manual
or written directive or other communication we issue or distribute specifying the System Standards.

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Taxes means the amounts payable under Section 7.2 of this Agreement.

Technology Standards means standards spccified in the System Standards Manual for local and long
distance telephone communications services, tclephonc, tclecopy and other communications systems,
point of sale terminals and computer hardware and software for various applications, including, but not
limited to, front desk, rooms management, records maintenance. marketing data, accounting,
budgeting and interfaces with the Reservation System to be maintained at the Chain Facilities,

Term means the period of time during which this Agreement shall be in cifect, as stated in Section 5.
Termination means a termination of this Agreement.

Transfer means (1) an Equity Transfer, (2) you assign, pledge, transfer, delegate or grant a sccurity
interest in all or any of your rights, benefits and obligations under this Agreement, as sccurity or
otherwise without our consent as specificd in Section 9, (3) you assign (other than as collateral security
for financing the Facility) your Icaschold interest in (if any), lease or sublease all or any part of the
Facility to any third party, (4) you engage in the sale, conveyance, transfer, or donation of your right,
title and interest in and to the Facility, (5) your fender or secured party forecloscs on or takes
possession of your interest in the Facility, directly or indirectly, or (6) a receiver or trusice is appointed
for the Facility or your assets, including the Facility, A Transfer docs not occur when you pledge or
encumber the Facility to finance its acquisition or improvement, you refinance it, or you engage in a
Permitted Transferee transaction.

“You” and “Your” means and refers to the party named as franchisee identified in the first paragraph of
this Agreement and its Permitted Transferces.

“We”. “Our” and “Us” means and refers to Days Inns Worldwide, Inc., a Delaware corporation, its
successors and assigns.
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(Legal Description of Facility)

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SCHEDULE B
PARTI: YOUR OWNERS:
Ownership Type of

Jagdishkumar Patel 99%

Bharti Pate! 1%

PART II: THE FACILITY:
Primary designation of Facility: Days Ino

Number of approved guest rooms: 125.

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Initial

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DAYS INNS WORLDWIDE, INC.

April 2015
L tem nt Fees

The System Assessment Fee is equal to 3.8% of Gross Room Revenues. We reserve the right,
in our sole discretion, to increase or modify the System Assessment Fces for all Chain Facilities from
time to time to cover costs (including reasonable direct or indirect overhead costs) related to such
services and programs but with at Icast 30 days prior written notice and afler consultation with the
Board of Directors of the Days Jnns Franchisee Advisory Association.

IE. Additional Fees
A. Loyalty Program Fees

We charge a Loyalty Program Charge for your participation in the Wyndham Rewards or
successor guest loyally program. The Loyalty Program Charge is up to 5% of the Gross Room
Revenues accruing from each “Qualifying Stay” at the Facility as defined in the Front Desk Guide or
any other program rules, which are System Standards. We will proactively match and award
members with points or other program currency they carn on Qualifying Stays even if they do nat
present their Wyndham Rewards membership card upon check-in. You will be billed monthly in
arrears for points or other program currency awarded to members during the preceding month. [f you
do not achieve a certain number of Wyndham Rewards valid enrotiments every month, you must pay
us a Retraining Fee as described in the Front Desk Guide. Currently, the Retraining Fee is $250. If
you do not process a membecr’s points in 4 timely manner and we must resolve the issuc with the
member, we will charge you a Loyalty Member Services Administration Fec as described in the Front
Desk Guide,

B. Customer Care Fee

We will contact you if we receive any gucst complaint about you or the Facility, and you
will be responsible for resolving the complaint to the satisfaction of the guest. We may also
contact you, at our discretion, if we become aware of any other complaints about the Facility
including complaints which are posted on third-party travel websites, distribution channels, blogs
and social networks, or other forums to which you do not respond. If you do not respond to and
resolve any complaint to the satisfaction of the guest within three business days after we refer it to
you, we will charge you a “Customer Care Fec” of up to $195.00, plus the costs we incur to settle
ihe matter with the guest. The Customer Care Fee is intended only to reimburse us for the costs
of complaint handling and is not intended as penalties or liquidated damages. All guest
complaints remain subject to indemnification under this Agrecment.

C. Best Rate Guarantee Program

You must (i) make available through the Central Reservation System and the Chain

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Websites room rates equivalent to those you offer to the general public directly or indirectly via
third parties that you authorize to offer and sell reservations for the Facility’s guest rooms and (ii)
participate in the Chain's Best Rate Guarantee Program according to its published requirements.
We will also charge you a Processing Fee, currently $60 to reimburse us for our administrative
charges of handling the complaint.

D. Reconnection Fee

if we suspend Central Reservation System service because of your default under this
Agreement or for any other rcason, then you must pay us the Reconncetion Fee sct forth in the
System Standards Manual before we restore service. Currently, the Reconnection Fee is $4,000.

E. Other Fees, Commissions and Charges

You will pay us a fee, as applicable, for reservations for your Facility from certain
distribution partners processed through various reservation channels. “GDS Fees” are asscssed
for qualified reservations processed through any global distribution system (“GDS")} or through
any Internct website or other booking source powered by a GDS. “Internct Booking Fecs” are
assessed for qualified reservations processed through an [nternet website connected through an
alternate distribution system (c.g. Pegasus). “Third Party Channel Fees” are assessed for qualificd
reservations coming from our partners directly or indirectly to our distribution platform. We will
establish the amount of the GDS, Internct Booking Fees, and Third Party Channci Fees from time
to time based on the fecs these channels charge us and/or our own costs (including overhead) for
providing these services. Some of our distribution partners may charge a commission on
reservations you receive through these reservation channels and, if we pay such commission on
your behalf, you will reimburse us and pay our service charge of up to 1,5% of commissionable
revenue. Upon written notice to you, we may alter, change, modify, remove or add new {ces as
existing reservation channels are modified or partners are added to existing channels or new

reservation channels arc established.

You will also pay commissions for (a) reservations booked by “Agents” and/or (b)
qualified reservations consumed by members of affinity groups and organizations that participate
in our Member Benefits program. You must pay our service charge of up to 1.5% of
commissionable revenuc. “Agents” include, but are not limited to, travel agents, on-line travel
and referral websites, travel consortia, travel management companies, and global sales agents.
These payments may go to the Agent, affinity group or organization in whole or a portion of the
payment may be allocated to various markcting activitics and/or to our Global Sales Organization
to offset its administrative and overhead costs for supporting the Member Benefit Program and
other programs that gencrate room nights at Chain Facilities.

Under our Wyndham Referral Rewards Program, Chain Facilities may receive Icads trom
other Chain Facilities, facilities of our affiliates and cmployees of Wyndham Worldwide
Corporation (WWC). For this business, we or an affiliate charge you a sales commission of 10%
of the Gross Room Revenues on qualifying reservations referred to you by another Chain Facility,
a facility of an affiliate or an cmployee of WWC. We or our affiliate pays 7% of the salcs
commission when the referring party is a Chain Facility or a facility of an affiliate and 6% of the

Schedule C - 39

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sales commission when the referring party is an employee of WWC. The remaining 3% and 4%,
as applicable, is distributed to our Global Sales Organization to offset its administrative and
overhead costs for supporting the Wyndham Referral Rewards Program.

F. MyRequest

We may charge you a fee for providing telephone support and assistance in connection
with such serviccs which is otherwisc available to you through the MyRequest Portal (¢.z., rate,
inventory and content management requests in our central reservation system). Currently, this fee
is $20.00 per telephone call.

We may change, modify or delete Additional Fees for cxisting services and programs and
add new Additional Feces for new services, programs and distribution channels at any time upon
not less than thirty (30) days’ written notice.

Schedule C - 40

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SCHEDULE D
DDENDUM v F, E
This Addendum applies if you are converting an existing guest lodging facility to 0 Days ino Facility.
1. YOUR IMPROVEMENT OBLIGATION:

1.1 Improvements. You must eclect and ecquire the Location and acquire, equip and supply the Facility
in atcordance with System Standurds. You must provide us with proof that you own or lease the Focility’
before or within 30 days aftor the Effective Date, You must maintein control of the Facility consinent
with such documentation during the Term. You must begin renovation of the Fucility ao later than thirty
(30) days after the Effective Date. The deudllve for completing the pro-opcaiag phase of conversion
and the resovalfous specified en any Puoch List attached to this Agreement Is the inter to ocenr of
{i) 90 days after the Effective Dute, or (ii) February 29, 2016, the date you cense operation as part
of nnother hotel chais. You most pravide us with x capy of the written termination notice or other
written evidence sutisfactory to us in our sole discretion that any prior hotel affiliation kas
terminated prior to the Opening Date. All renovations will comply with System Stmondards, any,
Approved Plans, and the Punch List. Your general contractor of you must carry the insururico roquined
undor this Agreemont during renovation. You must complete tho pre-opcaing renovation specified on tho,
Punch List bettsre we consider the Fucility to bu ready to opeu under the System, You must oontinue
renovation and improvement of the Facility after the Opening Date if the Punch List so requires, We
may, in our tole discretion, terminute this Agreement by giving written notice to you (subjuct to
applicable taw) if (1) you do not commence or complete the pro-opening or post-cpaning improvements
of the Facility by the dates specified in this Suction, or (2) you prematurely tdomiify the Facility us 2
Chain Facilicy or begin operation under the System name described in Schedule B In viokition of Scction
1.3 below and you fail to cither complete the pre-vpening Improvement Obligation or cease operating
and/or Ideotifying the Facilixy undcr the Marks and System within five days ufter we send you writica,
aotice of defhult. ‘Time la of the cssence for the Improvement Obligation. We may, however, ip our eole’
discretion, grant one or more extensions of time to perform any phase of the Improvement Obligation.
You will puy us s non-refundable extunsion fee of $2.00 per room for cach day of any extension of the;
deadline for completing pre-opening improvements, This fee will be payable to us after each 30 days of
the extension. You will pay us the balance of the extension fes outstanding wien the Facility opens:
under tho System 10 days after the Opening Dute. You must also pay us the Roinspeotion Feo desoribed’
in Section 3,7 if you Gal 10 complete any Improvement Obligation by the deadline estublished in the
Punch List and our representulives must retum to the Facility to inspect 2. We may grant you au
extension of time to complete the items on your Punch List in our sole discretion. The grant of an
exienelos io perform your hnprovement Obligation will not waive any other default existing ai the time-
the exteaston is granted.

1.2 improvement Plans. You will create plans and specificatious for the work described in Seotion 1.1
of this Scheduls D (based upon the System Standards and this Agreement) If we so request and submit:
theat for our spproval before starting improvement of the Location, We will not unreusonably withhold’
or delay our approvul, which Is intended only to test compliance with System Standards, and not to
detect errors or Omissions in the work of yuur architects, engineers, contractors or the like. Our
review does not cover technical, architectural or engineering factors or compliance with federal,
stals or local laws, regulations or code requirements. We will not be liable to your lenders,

contractors, employees, gucsts, others, ur you on account of our review or

 

Schedule D Conversion - 42
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approval of your plans, drawings or specifications, or our inspection of the Facility before, during
or after renovation or construction. Any matcrial variation from the Approved Plans requires our
prior written approval. We may offer to provide you or your architect with interior design or
other prototypes. if you decline to utilize such prototype(s) in developing the Facility, we may
charge you a fce for reviewing your custom plans and designs. We may offer other optional
architcctural and design services for a scparate fee. You will promptly provide us with copies of
permits, job progress reports, and other information as we may reasonably request, We may
inspect the work while in progress without prior notice.

1.3 Pre-Opening. You may identify the Facility as a Chain Facility prior to the Opening Date, or
commence opcration of the Facility under a Mark and using the System, only after first obtaining
our approval or as permitted under and strictly in accordance with the System Standards Manual.
if you identify the Facility as a Chain Facility or operate the Facility under a Mark before the
Opening Date without our express writtcn consent, then in addition to our remedies under Section
1.1 of this Schedule D and Sections 11.2 and 11,4 of the Agreement, you will begin paying the
Royalty to us, as specified in Section 7.1, from the date you identify or opcrate the Facility using
the Mark. We may delay the Opening Date until you pay the Royalty accruing under this Section.

1.4 Integration Services. We will provide the following “Integration Services” to assist you in
opening the Facility. We will provide training through various on-line courses on subjects such as
quality assurance, Wyndham Hotel Group Resources, housekeeping, preventative maintenance,
customer service, and the RFP process. A member of our ficld team will also assist with property
operations topics including Systcms Standards, using the Chain’s intranet site and revenue
management concepts. We will deliver to you initial property supplies, as dctcrmined by us in our
reasonable discretion, of cerlain Mark-bearing guest room products. We will arrange to have
digital photographs taken of the Facility in accordance with System Standards which will be
suitable for posting on our Chain Website, third party travel websites and various markctling
media and will be owned by us. [f we allow you to open the Facility before your installation of
permanent signage, we will arrange for one of our approved suppliers to provide tempcrary
exterior signage for the Facility in the form of a Mark-bearing bag to cover your primary [rec
standing sign. (f you install permancnt signage from an approved supplicr for the Facility on or
before the Opening Date, or if within thirty (30) days of the Opening Date, you sign a quote and
pay the required deposit for permanent signage from the vendor assigned to provide temporary
signage for the Facility, we shall issuc you a credit of $1,000 against the [ntegration Services
Fee. We will provide orientation training for your gencral manager as set forth in Section 4.1 of
the Agreement if he/she attends the training by the deadline set forth in Section 4.1.

|.5 Integration Services Fee. You will pay a non-rcfundable “Integration Services Fee” of
$7,900.00 on or before the Opening Date.

2. DEFINITIONS;

Opening Date means the date on which we authorize you to open the Facility for business
identified by the Marks and using the System.

Schedule D Conversion - 42
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SCHEDULE D
R Vv FACILITIE:

[Punch List Attached]

Schedule D Conversion/Punch List - 43
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GUARANTY

To induce Days Inns Worldwide, Inc., its successors and assigns (“‘you™) to sign the Franchise
Agreement (the “Agreement” with the party named as the “Franchisce,” to which this Guaranty is
altached, the undersigned, jointly and severally (we, “our” or “us"), irrevocably and unconditionally (i)
warrant to you that Franchisce’s representations and warrantics in the Agreement are (ruc and correct
as stated, and (ti) guaranty that Franchisce’s obligations under the Agrecment, including any
amendments, will be punctually paid and performed.

Upon default by Franchisce and notice from you we will immediately make cach payment and
perform or causc Franchisce to perform, each unpaid or unperformed obligation of Franchisce under
the Agreement. Without affecting our obligations under this Guaranty, you may without notice to us
extend, modify or release any indebtedness or obligation of Franchisec, or settle, adjust or compromise
any claims against Franchisee. We waive notice of amendment of the Agreement. We acknowledge
that Section 17 of the Agreement, including Remedies, Venue and Dispute Resolution. and WAIVER
OF JURY TRIAL, applies to this Guaranty.

Upon the death of an individual guarantor, the cstate of the guarantor will be bound by this
Guaranty for obligations of Franchisce to you existing at the time of death, and the obligations of all
other guarantors will continue in full force and effect.

This Guaranty may be executed in one or more counterparts, each of which shall be deemed an
original but all of which together shall constitute one in the same instrument.

IN WITNESS WHEREOF, each of us has signed this Guaranty clfective as of the date of the
Agreement.

GUARANTORS:

” Jagdishkumar Patel
Address:150 Hotel Heights Clearfield, PA 16830

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Name: Bharti Patel
Address: 150 Hotel Heights Clearfield, PA 16830

Guaranty - 44

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EXHIBIT C
Case 2:18-cv-17275-CCC-MF Document1 Filed 12/17/18 Page 72 of 84 PagelD: 72

GUARANTY

To induce Days Inns Worldwide, Inc,, its successors and assigns (“you”) to sign the Franchise
Agreement (the “Agrcement”) with the party named as the “Franchisce,” to which this Guaranty is
attached, the undersigned, jointly and severally (“‘we, “our” or “us”), irrevocably and unconditionally (3)
warrant to you that Franchisce’s representations and warranties in the Agreement are truc and correct
as stated, and (ii) guaranty that Franchisee’s obligations under the Agreement, including any
amendments, will be punctually paid and performed.

Upon default by Franchisce and notice from you we will immediately make cach payment and
perform or cause Franchisee lo perform, cach unpaid or unperfonmed obligation of Franchisce under
the Agreement. Without affecting our obligations under this Guaranty, you may without notice to us
extend, modify or release any indebtedness or obligation of Franchisee, or setthe, adjust or compromise
any claims against Franchisee. We waive notice of amendment of the Agreement. We acknowledge
that Section 17 of the Agreement, including Remedies, Venue and Dispute Resolution. and WAIVER
OF JURY TRIAL, applies to this Guaranty.

Upon the death of an individual guarantor, the cstate of the guarantor will be bound by this
Guaranty for obligations of Franchisce to you existing at the time of death, and the obligations of all
other guarantors will continue in full force and effect.

This Guaranty may be cxccuted in one or more counterparts, each of which shall be deemed an
original but all of which together shall constitute one in the same instrument,

IN WITNESS WHEREOF, each of us has signed this Guaranty clfective as of the date of the
Agreement.

GUARANTORS:

7 Jagdishkumar Patel
Address: 150 Hotel Heights Clearfield, PA 16830

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Name: Bharti Patel
Address; 150 Hotel Heights Clearficld, PA 16830

Guaranty - 44

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EXHIBIT D
Case 2:18-cv-17275-CCC-MF Document1 Filed 12/17/18 Page 74 of 84 PagelD: 74

_ WYNDHAM |

Compllance Department
22 Sylvan Way
Parsippany, New Jersey 07054
Ph (973) 753-6000 fax (800) 880-9445

December 28, 2017

VIA 2 DAY DELIVERY METHOD
Mr. Ajay Patel

Kingston PA LLC
150 Hotel Heights
Clearfield, PA 16830

RE: ACKNOWLEDGMENT OF ‘TERMINATION of the Frunchise Agreement for Days Inn®
System Unit #14840-07330-4 tocated in Clearfield, PA (he “Pucility")

Dear Mr. Patel:

Days Inns Worldwide, Inc. (“we" or “us") has received your email, dated November 28, 2017, (the
“Termination Date") advising us that Kingston PA LLC (“you" or “your") has stopped operating the
Facility as a Days Inn facility. Accontingly, we acknowledge that the Franchise Agreement, dated March 8,
2016 (the “Agreement"), tenninated on the Termination Date.

The Agreement requires you to perform certain post-lennination obligations. In addition to other
obligations specified in the Agreement, by no later than ten (10) days from the delivery date of this letter,
you must (a) remove all signage and other items bearing the Days Inn Marks; (b) perform all post-
termination obligations specified in the Systems Standards Manual; (c) change all signs, billboards, and
listings in telephone directories, travel guides, hotel indexes and similar materials in which the Facility is
identified as a Days Inn facility; and (d) remove the Days Inn Marks from any advertising or promotional
activities on, around or directed towards the Facility, including any web siles, web pages or scarch
engines, You must cooperate fully with us regarding any post-termination inspections by us to verify that
the Facility has been properly de-identified. You must immediately returm to us all training documents,
operating manuals and other proprictary material.

Because the Agreement has terminated, you must pay us Liquidated Damages of $125,000.00, as
specified in Section 18.4 of the Agreement. You must also pay any outstanding Recurring Fees and any
other fees and charges through the date you complete the de-identification of the Facility. We estimate
that, as of the Termination Date, you owe us $64,633.60 in such fees and charges. Please pay us this
amount within fourtecn (14) days. Please consider this letter to be a notice and demand for payment
under any Guaranty of the Agreement, direeled to your Guarantors.

Please know that, because the Agreement has terminated, you also have lost the right to continue to use
the seamless interface version of your properly management system. You must now make arrangements
with the software vendor for a new license to use the property management system. {If you would like to
inquire about the data maintained in the system, please contact Hotel Technolagy Client Support at 506-
646-2521 to obtain reporting of that data.

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Mr. Ajay Patel
December 28, 2017
Page Two

Should you have any questions regarding this mutter, please contact Dayna Shapllo, Manager of
Settlements at (973) 753-7143,

Sincerely,

Nagee st (Lorene
SusmmeTenimore
Senior Director

Contracts Compliance
Enclosures

ce: Jagdishkumar Patel (Guarantor)
Bharti Patel (Guarantor)
Patrick Breen
Dayna Shaptlo
Michael! Piccola
Joc Maida

 

 
 

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DE-IDENTIFICATION PROCEDURES
You must complete cach of the following immediutely:

1, Remove, replace or cover with aa opaque cover the as Facility signage and all other exterior
signage bearing the Days Inn Marks,

2. Remove all interior signage that contains Days Inn Marks.
3, Change advertising billboards ta remove Days Inn Marks, including any department of
transportation or other highway signage,
4. Stop answering Facility telephone as on Days Inn facility.
5. Remove Days Inn name and Marks from uny cman name, alvertising and brochures.
6. Retum to us or destroy all confidential operations and training manuals.
7. Remove the Days Jan name and Marks from the following items:
e Guestroom supplies inchiding door signage, ice buckets, cups cle.
¢ = Bathroom supplies including soap, shampoo, conditioner, etc.
e = Business cards und letterhead
© Registration cords, folios, guest receipts, including electronic copies
® Guesimom keys
« Uniforms and name badges
8. Paint over or remove any distinctive Days Inn trade dress, paint sehemes or architectural features.
9. Remove Days Jon name from the Facility's listing on TripAdvisor or any other online traveler

review sile.

10. It is prohibited to re-name the Facility with a confusingly similar name or color scheme ay a
Dnys Inn facility.

Il, We will visit the Facility at any time afler (0 days aller the Termination Date to verify that you
have performed these de-identification obligations.

 

 

 
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( Shipment Receipt

 

 

 

 

 

Transaction Date: 28 Dec 2017 Tracking Number; 1222445%0295434524
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12/28/2017

 
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EXHIBIT E
Case 2:18-cv-17275-CCC-MF Document1 Filed 12/17/18 Page 82 of 84 PagelD: 82

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A TRADITION OF LEGAL EXCELLENCE SINCE 1938

Connell Foley LLP
One Newark Center Bryan P. Couch

1085 Raymond Bivd., 19th Floor
Newark. New Jersey 07102 beouch@connelifolay.com

P 973 436 5800 F 973 436.5801 Direct Dial 973.436.5703

May 2, 2018
VIA FEDERAL EXPRESS

Karma Holdings, LLC
c/o Bharti Patel

1 Alexander Drive
Monroe, New Jersey 0883!

Re: Demand to Cease and Desist Ongoing Infringement at the poet located at 150
Hotel Heights, Clearfield, Pennsylvania, OR, Former Days Inn® Site No. 14840-
07330-04 (the Facility”)

Dear Sir or Madam:

We represent Days Inns Worldwide, Inc. (“DIW”), relative to issues relating to the ree
lodging facility located at 150 Hotel Heights, Clearfield, Pennsylvania, former Days Inn® Site
No. 14840-07730-04 ie “Facility”). It has been brought to DIW’s attention that you are
misusing the Days Inn® trade name, trademarks or service marks (collectively, the “Days Inn”
Marks”) in connection with the above-referenced Facility, in flagrant violation of DIW’s
trademark rights. We write to demand that you immediately cease and desist the misuse of the
Days Inn® Marks, and cease to misrepresent that you have a relationship with DIW.

The Franchise Agreement between DIW and its former franchisee terminated effective
November 28, 2017. Pursuant to the Franchise Agreement, the Facility was required to
immediately cease the use of all Days Inn® Marks. Since the termination of the Franchise
Agreement, the Facility has used the Days Inn® Marks without authorization by the failure to
remove the Days Inn® signage and continuing to utilize the Days Inn® Marks throughout the
Facility. Specifically, by way of example and not limitation, signage bearing the Days Inn®
Marks is located at the Facility, on nearby highways, and in the Facility’s public areas, all within
view of the travelling pubtic.

DIW is widely known as a provider of guest lodging facility services. DIW has the
exclusive right to license the use of the Days inn® Marks, as well as the distinctive Days Inn®

 

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System, which provides hotel services to the public under the Days Inn®™ name and certain
services to its licensees, including a centralized reservation system, advertising, publicity, and
training services. DIW or its predecessors have continuously used each of the Days Inn® Marks
since the date of their registration and these marks are in full force and effect pursuant to 15
U.S.C. § 1065.

DIW prides itself on the quality of its services, its reputation for quality, and the very
substantial goodwill that has become attributable to it. DIW has spent substantial sums in
development and promotion of the goodwill associated with the Days Inn® Marks, and views
them as substantial proprietary assets. Because of substantial use and promotion, the Days Inn®™
Marks have become famous marks afforded a broad scope of protection under United States and
international trademark law.

Your continued misrepresentations and unauthorized use of the Days Inn® Marks
constitutes counterfeiting, trademark infringement, unfair competition, and dilution in violation
of the federal United States Trademark Act, 15 U.S.C. §1051, et. seq., and additionally
constitutes trademark infringement, unfair competition and dilution in violation of state and
common law. This infringement is: 1) causing confusion among the public as to the affiliation of
the Facility with the Days Inn® System; and 2) damaging contractual relations between DIW and
its legitimate licensees. This has caused dilution and disparagement of the distinctive quality of
the Days Inn® Marks and lessened the capacity of the Days Inn® Marks to identify and
distinguish the goods and services of DIW, all in violation of Section 43(c) of the Lanham Act.

Please be advised that should you fail to cease and desist using the Days Inn® Marks,
DIW will initiate litigation against you, immediately move for injunctive relief, and seek to
recover damages which, under the Lanham Act, may include an award of treble damages and
attorneys’ fees and/or statutory damages of up to $1 million for each registered mark still in use
at the Facility. See 15 U.S.C. § 1114, et seq.

Accordingly, DIW demands you immediately remove all exterior and interior items
displaying the Days Inn® Marks, and cease all use of the Days Inn® Marks in domain names,
metatags, sponsored internet search engine results, web sites, e-mail addresses, and other means
which might suggest that the Facility continues to be affiliated with the Days Inn® brand. DIW
will be sending a representative to the Facility shortly to ensure that you are in compliance with
these requirements. You must contact us within five (5) days from the date of this letter to
confirm that you will comply with all demands set forth herein. Absent written assurance from
you of your compliance with DIW’s demands, as stated above, DIW will take all measures
afforded to it at law and in equity to enforce its intellectual property rights.

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The foregoing is not intended, nor shall it be construed, as a complete recitation of the
facts and events concerning the above-referenced matter, or the law or claims of DIW in the
event filings are made with respect thereto, nor shall it be construed as a complete recitation of
any of your rights, claims, damages or remedies, legal or equitable. Nothing hereinabove stated
or omitted shall be deemed a waiver or limitation of any right, remedy, claim, or cause of action
of any kind whatsoever, all of which DIW hereby expressly reserves. This letter is written
withoul prejudice to any claims which DIW may have against you and/or related entities,
including but not limited to injunctive relief and money damages, should action against you

prove necessary.

Very truly yours,

GeEtUe__

Bryan P, Couch

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